                                                                                   Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                    INTHE
                          MISSOURI COURT OF APPEALS
                              EASTERN DISTRICT


 STATE OF MISSOURI,                           )
                                              )
                           Respondent,        )
                                              )
       vs.                                    )   No. ED100807
                                              )
JEFFREY R. WE1NHAUS,                          )
                                              )
                          Appellant           )


                                    LEGAL FILE
                                     Volume I


AMY M. BARTHOLOW
Office of State Public Defender
1000 W. Nifong Boulevard, Bldg. 7, Ste. 100
Columbia, Missouri 65203
(573) 882-9855

Attorney for Appellant


SHAUN MACKELPRANG
Office of the Attorney General
P.O. Box 899
Jefferson City, Missouri 65102
(573) 751-3321

Attorney for Respondent
                                                                                   Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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 Report: CZR0026                                  20TH JUDICIAL CIRCUIT                        Date      06-Feb-2014
                                                    FRANKLIN COUNTY                            Time      94859AM
                                              CIRCUIT COURT DOCKET SHEET                      Page       1

 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                      Security Level: I Public
 Case Type:        CC F&ony                                 Case Filing Date:   28-Nov-2012
 Status:           Judgment Entered
 Disposition:      Jury Verdict Guilty                      Disposition Date:
                                  -
                                                                                10-Oct-2013
 OCN#:             J8007983
 Arresting Agency: MOM H P0000
 Speedy Trial:     Date Not Entered
 Related Case:           12AB-MC00990         SW-2360 HWY K ST CLAIR MO
 Related Case:       13AB-CC00289             JEFFREY WEINHAUS V STATE OF MISSOURI

                                                                                  ReleaselStatus Reason
                                                                                  Change Date
Judge                           KEITH M SUTHERLAND (21509)
Judge                           GAEL D. WOOD (24684)                                 26-Feb-2013      Judge
                                                                                                 Transferred/Reas
Judge                                                                                                 signed
                                I, I. LAMKE (28266)                                  04-Dec-2012      Judge
                                                                                                 Transferred/Reas
Defendant                                                                                             signed
                                JEFFREY R WEINHAUS (WEIJR388O)
Prosecuting Attorney            ROBERT E PARKS 11(36333)
Attorney for Defendant          ROSS TYSON MUTRUX (63117)                            14-Feb-2013      Attorney
Attorney for Defendant                                                                                Withdrawn
                             HUGH ATHELSTAN EASTWOOD (62058)
Co-Counsel for the Defendant CHRISTOPHER MICHAEL COMBS
                                                       (65512)
Current Bond: $250000 00 19-Mar-2013
                                                                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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   Report: CZROO26                                            20TH JUDICIAL CIRCUIT                           Date     06-Feb-2014
                                                                FRANKLIN COUNTY                               Time     9 48 59AM
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  I2AB-CR02409-01                  ST V JEFFREY R WEINHAUS                                              Security Level: I Public

                      Charge Charge              Charge         Charge
                        #    Date                Code           Description

  Original                    1    17-Aug-2012 3245000          Possession Of Controlled Substance Except 35 Grams Or Less Of
  Charge:                                                       Marijuana (Felony C RSMo: 195.202)
                       Ticket No: 999999999
  Disposition:       1 0-Oct-201 3 Jury Verdict-Guilty
  Order Date:    25-Nov-2013                  Sentence or SIS: Incarceration DOC
  Length: 2 Years                             Start Date: 25-Nov-2013
  Text: 2 YRS DOC
  ConclCons Case & County: CONC W/CTS III, IV, V

 Original                 2        17-Aug-2012 2921700         Tampering With Judicial Officer (Felony C RSMo : 565.084)
 Charge:
 Disposition:        09-Oct-20 13        Tried/Court-Not Guilty

 Original                 3        17-Aug-20 12 3245700        Possession Of Up To 35 Grams Marijuana (Misdemeanor A
 Charge:                                                                                                             RSMo
                                                               195.202)
                      Ticket No: 999999998
 Disposition:        10-Oct-2013 Jury Verdict-Guilty
 Order Date:   25-Nov-2013                                    Sentence or SIS: Incarceration Jail
 Length: 365 Days                                             Start Date: 25-Nov-2013
 Text: 1 YR COUNTY JAIL

 Original              4          11-Sep-2012 1310000         Assault/Attempt Assault- LEO, CorrOff,Emrgncy Prsnnl, HwyWkr,
Charge:                                                       Utility Wrkr,Cble Wrkr Or P&P Offcr 1st Degr (Felony A RSMo
                                                                                                    -



                                                              565.08 1)
Disposition:     10-Oct-2013            Jury Verdict-Guilty
Order Date:   25-Nov-20 13                 Sentence or SIS: Incarceration DOC
Length: 30 Years                           Start Date: 25-Nov-2013
Text: 30 YRS DOC
ConclCons Case & County: CONC W/CTS I, IV, V

Original              5           11-Sep-2012 3101000         Armed Criminal Action (Felony Unclassified RSMo :571.0
Charge:                                                                                                              15)
Disposition:     1 0-Oct-201 3         Jury Verdict-Guilty
Order Date:   25-Nov-2013                    Sentence or SIS: Incarceration DCC
Length: 30 Years                             Start Date: 25-Nov-2013
Text: 30 YRS DOC
ConclCons Case & County: CONC W/CTS I, Ill, IV
                                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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  Report; CZR0026                                              20TH JUDICIAL CIRCUIT                          Date    06-Feb-2014
                                                                 FRANKLIN COUNTY                             Time.    94859AM
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  I2AB-CR02409-O1            ST V JEFFREY R WEINHAUS                                                  Security Level: I Public

  Original              6    1 1-Sep-2012 1310000               Assault/Attempt Assault LEO, Con Off,Emrgncy Prsnnl. Hwy Wkr,
                                                                                        -




  Charge:                                                       Utility Wrkr,Cble Wrkr Or P&P Offcr 1st Degr (Felony A RSMo
                                                                                                 -




                                                               565.081)
  Disposition:       10-Oct-2013            Jury Verdict-Not Guilty

  Original              7    11-Sep-2012 3101000               Armed Criminal Action (Felony Unclassified RSMo: 571.015)
  Charge:
  Disposition:      1 0-Oct-201 3           Jury Verdict-Not Guilty

  Original             8     11-Sep-2012 2702000               Resisting/Interfering With Arrest ForA Felony (Felony D RSMo:
  Charge:                                                      575.150)
  Disposition:      09-Oct-201 3            Tried/Court-Not Guilty

  Filing Date        Description

 28-Nov-20 12        Judge Assigned
                     Order
                     SPECIAL CONDITIONS SIGNED. SO ORDERED. I. I. LAMKE/JB
                     Grand Jury Indictment Filed
                     IN OPEN COURT THE GRAND JURY, BY ITS FOREMAN, RETU
                                                                        RNS A TRUE BILL CHARGING
                     DEFENDANT WITH THE LISTED COUNT(S). ASSOCIATE COUR
                                                                         T DIVISION VII SENDS FILE TO
                     CIRCUIT FOR GRAND JURY FILING. TRUE BILL ACCEPTED AND
                                                                           ORDERED FILED.
                    JudgelClerk Note    -


                    AT TIME OF CIRCUIT INITIATION ASSOCIATE WARRANT ISSUE
                                                                          D, SERVED. DEFENDANT
                    REMAINS IN CUSTODY
                    Order
                    AS A CONDITION OF RELEASE FOR DEFENDANT BOND IS SET
                                                                        AT $250,000.00 CASH ONLY.
                    GDW
                    Bond Set
                    Arraignment Scheduled
                    Scheduled For: 04-Dec-2012: 10:00 AM: I. I. LAMKE; Setting: 0: Frankl
                                                                                          in County
03-Dec-20 12        Motion for Disclosure
                    STATE’S MOTION FOR DISCLOSURE FILED JB
                    Notice
                    NOTICE AND APPLICATION FOR CHANGE OF JUDGE
                    Judge/Clerk Note-



                    NOTE TO MR M
                 Notice
                 NOTICE FOR HEARING ON SATES MOTION FOR CHANGE OF JUDG
                                                                       E
                 Motion for Change of Judge
                        04-Dec-2012    Motion Granted/Sustained
04-Dec-2012      Judge Assigned
                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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  Report: CZR0026                                        20TH JUDICIAL CIRCUIT                  Date    06-Feb.2014
                                                           FRANKLIN COUNTY                      Time.   948:59AM
                                                     CIRCUIT COURT DOCKET SHEET                Page     4
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  I2AB-CR02409-O1            ST V JEFFREY R WEINHAUS                                     Security Level: I Public

  04-Dec-20 12        HearinglTrial Cancelled
                      REQUEST FOR CHANGE OF JUDGE FILED BY STATE. MOTION GRANTED. CASE
                      TRANSFERED TO DIV I. IIL.JB
                      Scheduled For: 04-Dec-2012: 10:00 AM: I. I. LAMKE: Setting: 0: Franklin County
                      Motion GrantedlSustained
                      MOTION FOR CHANGE OF JUDGE GRANTED. CASE TRANSFERED TO DIV I. IILJJB
 07-Dec-2012          Judge Assigned
                     CASE ASSIGNED TO DIV I          GDW
                     Arraignment Scheduled
                     Scheduled For: 08-Jan-2013; 9:00 AM: GAEL D. WOOD; Setting: 0; Franklin County
                     ARRAIGNMENT
 18-Dec-2012         Motion Filed
                     MOTION FOR BILL OF PARTICULARS
                     Filed By: ROSS T MUTRUX
                     Motion for Discovery
                     Filed By: ROSS T MUTRUX
                     Motion Filed
                     MOTION TO MODIFY BOND
                     Filed By: ROSS T MUTRUX
                             07-Jan-2013   Motion Denied
                     Criminal Motion Hearing Sched
                     Scheduled For: 27-Dec-2012; 10:00 AM; GAEL D. WOOD; Setting: 0; Franklin County
                     DEFT’S MOTION FOR BOND MODIFICATION
27-Dec-2012          Hearing Held
                    DEFENDANT IN PERSON, IN CUSTODY, AND WITH COUNSEL ROSS MUTRUX.
                                                                                                 STATE BY APA
                    BRIANNE BARR. ARGUMENT HEARD. BOND REDUCED TO $50,000, CASH ONLY.
                                                                                                     CASE
                    CONTINUED TO 01/02/13 @11 A.M. FOR FURTHER ARGUMENT. GDW/RK
                    Scheduled For: 27-Dec-2012: 10:00 AM; GAEL D. WOOD: Setting: 0; Franklin County
                    DEFT’S MOTION FOR BOND MODIFICATION
                    Bond Set
                    BOND REDUCED TO $50,000 CASH ONLY GDW/RK
                    Bond Reduction Hrng Scheduled
                    Scheduled For: 02-Jan-2013: 11:00AM: GAEL D WOOD: Setting: 0. Franklin County
                    FURTHER ARGUMENT
                    Notice
                    FOR 12/27/12    @   1OA.M   RK
02-Jan-2013         Cause Taken Under Advisement
                    CASE CALLED FOR FURTHER ARGUMENT ON DEFT’S MOTION FOR BOND MODIFICAT
                                                                                                      ION.
                    STATE APPEARS BY PA PARKS, DEFT APPEARS IN CUSTODY AND BYATTY
                                                                                               MUTRUX. DEFT
                    PRESENTS EVIDENCE. STATE PRESENTS EVIDENCE. MOTION TAKEN
                                                                                           UNDER
                    ADVISEMENT, CASE SET FOR 3-DAY JURY TRIAL ON 4/30/1 3, SETTING #1.
                                                                                              GDW/cw
                    Scheduled For: 02-Jan-201 3. 1100 AM: GAEL D. WOOD: Setting: 0: Franklin
                                                                                             County
                    FURTHER ARGUMENT
                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                      FRANKLIN COUNTY                          Time     9 4859AM
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 12A8-CR02409-O1               ST V JEFFREY R WEINHAUS                                  Security Level: I Public

 02-Jan-201 3        Hearing/Trial Cancelled
                     Scheduled For: 08-Jan-2013 900 AM: GAEL D. WOOD: Setting: 0, Franklin County
                     AR RAI C NM E NT
                     Jury Trial Scheduled
                     Scheduled For:30-Apr-2013: 9:00 AM: GAEL D. WOOD: Setting: 1: Franklin County: Length:
                                                                                                            3 Days
 07-Jan-2013         Motion Denied
                     REQUEST FOR FURTHER BOND MODIFICATION DENIED. GDW/Cw
                     Waiver of Formal Arraignment
                     JudgelClerk   -   Note
 13-Jan-2013         Request Filed
                     APPELLANTS REQUEST FOR PREPARATION OF THE LEGAL FILE & TRANSCRIPT,
                                                                                        FILED.
                     Filed By: AMY M BARTHOLOW
 31-Jan-2013         Filing:
                     ENDORSEMENT OF WITNESS
                     Filed By: ROBERT E PARKS
                     Filing:
                     SUPPLEMENTAL ANSWER TO DISCOVERY
06-Feb-2013          Subpoena Served
                     SGT H. FOLSOM
07-Feb-2013         Criminal Motion Hearing Sched
                    Scheduled For: 14-Feb-2013: 3:00 PM: GAEL D. WOOD: Setting: 0: Franklin County
                    MOTION TO WITHDRAW
11-Feb-2013         Motion for Leave
                    TO WITHDRAW AS COUNSEL
                    Filed By: ROSS T MUTRUX
                    Motion to Withdraw
                    Filed By: ROSS T MUTRUX
                    Notice of Hearing Filed
                    FOR 2/14/13 t 3:00 PM
                    Filed By: ROSS T MUTRUX
13-Feb-2013         Entry of Appearance Filed
                    Filed By: JEFFREY R WEINHAUS
                    Motion to Dismiss
                    Filed By: JEFFREY R WEINHAUS
                    Request for Speedy Trial Filed
                    Filed By: JEFFREY R WEINHAUS
                    Motion Filed
                    MOTION FOR SURETY BOND
                    Filed By: JEFFREY R WEINHAUS
                    Motion for Summary Judgment
                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                     Security Level: I Public
                    Filed By: JEFFREY R WEINHAUS
                    Notice of Hearing Filed
                    FOR 2/14/13
                    Filed By: JEFFREY R WEINHAUS
 14-Feb-2013        Motion Filed
                    MOTION FOR EVIDENTIARY HEARING ON BOND REDUCTION AND NOTICE OF HEARING
                    Filed By: ROBERT E PARKS
                    Criminal Motion Hearing Sched
                    Scheduled For: 21-Feb-2013; 9:00 AM: GAEL D. WOOD: Setting: 1: Franklin County
                    MOTIONS
                    Hearing Held
                    STATE APPEARS BY PA PARKS, DEFT APPEARS IN CUSTODY AND BYATTY MUTRUX. ATTY
                    MUTRUXS MOTION TO WITHDRAW IS GRANTED. ARGUMENTS HEARD ON DEFT’S MOTION
                    FOR SURETY BOND. MOTION TAKEN UNDER ADVISEMENT. GDW/cw
                    Scheduled For: 14-Feb-2013; 3:00 PM; GAEL D. WOOD; Setting: 0; Franklin County
                    MOTION TO WITHDRAW
                    JudgelClerk Note -




 19-Feb-2013        Motion Filed
                    MOTION TO PROCEED UNDER SUPREME COURT RULE 16
                    Filed By: JEFFREY R WEINHAUS
                            22-Feb-2013  Motion Denied
                   Amended Motion/Petition Filed
                   AMENDED MOTION FOR SURETY BOND
                   Filed By: JEFFREY R WEINHAUS
                   Amended MotionlPetition Filed
                   AMENDED MOTION FOR SURETY BOND
                   Filed By: JEFFREY R WEINHAUS
                           22-Feb-2013  Motion Denied
                   Writ Requested
                   WRIT OF HABEAS CORPUS
                   Filed By: JEFFREY R WEINHAUS
21-Feb-2013        Hearing Held
                   STATE APPEARS BY PA PARKS, DEFT APPEARS IN CUSTODY AND WITHOUT COUNSEL.
                   DEFT’S MOTION TO DISMISS IS ARGUED AND DENIED DEFT’S MOTION FOR SURETY BOND
                   IS ARGUED AND TAKEN UNDER ADVISEMENT. DEFT’S ORAL MOTION FOR GAG ORDERS IS
                   SUSTAINED. DEFT IS FORMALLY ARRAIGNED AND PLEADS NOT GUILTY TO ALL COUNTS.
                   GDW/cw
                   Scheduled For: 21-Feb-2013: 9:00AM: GAEL D. WOOD: Setting: 1: Franklin County
                   MOTIONS
                   Motion for Discovery
                   Filed By: JEFFREY R WEINHAUS
22-Feb2013         Judge/Clerk   -   Note
                                                                                                                       Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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  Report: CZR0026                                  20TH JUDICIAL CIRCUIT                        Date    06-Feb-20 14
                                                     FRANKLIN COUNTY                            T me     9.48 59AM
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  I2AB-CR02409-O1            ST V JEFFREY R WEINHAUS                                     Security Level: I Public

 22-Feb2013           Order
                      IT IS HEREBY ORDERED AND DECREED THAT ALL COURT PERSONNEL. THE FRANKLIN
                      COUNTY PROSECUTOR, THE FRANKLIN COUNTY PROSECUTORS STAFF. THE DEFENDANT
                      AND ATTORNEYS FOR THE DEFENDANT SHALL NOT COMMENT PUBLICLY ON THIS CASE.
                      THIS ORDER IS SUBJECT TO THE EXCEPTIONS SET FORTH IN MISSOURI SUPREME COURT
                      RULE 4-3.6.
                      s/GAEL D WOOD

                     CC:   PA, DEFT do FCSO
                     Motion Denied
                     DEFT’S MOTION TO PROCEED UNDER SUPREME COURT RULE 16 IS DENIED. DEFT’S
                     MOTION FOR SURETY BOND IS DENIED. GDW/cw
                     Judge/Clerk Note    -


                     DEFT’S EXHIBITS A & B RETURNED TO DEFT AT FCSO
 25-Feb-2013         Motion Filed
                     MOTION TO HEAR HABEAS CORPUS, VACATE DENIAL OF SURETY BOND OR IN
                     ALTERNATIVE NEW JUDGE
                     Filed By: JEFFREY R WEINHAUS
                     Correspondence Filed
                     CORRESPONDENCE ADDRESSED TO JUDGE RECEIVED AND PLACED IN SEALED
                     ENVELOPE. NOT READ BY JUDGE.
26-Feb-2013         Order
                    DEFENDANT HEREIN HAS FILED A REQUEST FOR CHANGE OF JUDGE ON FEBRUARY 25,
                    2013. ALTHOUGH THIS IS NOT TIMELY, THE COURT HEREBY SUSTAINS SAID MOTION IN
                    CHAMBERS AND THE SUPREME COURT IS REQUESTED TO ASSIGN A JUDGE FROM
                    OUTSIDE OF THE 20TH, 23RD, 24TH AND 42ND JUDICIAL CIRCUITS TO HEAR ALL FURTHER
                    PROCEEDINGS IN THIS CASE.
                    s/GAEL D WOOD
                     JudgelClerk Note-



                     FILE SENT TO PJ SECRETARY FOR SUPREME COURT ASSIGNMENT
                     Hearing/Trial Cancelled
                     Scheduled For:30-Apr-2013 : 900 AM; GAEL D. WOOD: Setting: 1: Franklin County: Length: 3 Days
                     Hearing/Trial Cancelled
                    Scheduled For:01-May-2013. 9:00AM: GAEL D WOOD; Setting: 1; Franklin County; Length: 3 Days
                    HearinglTrial Cancelled
                    Scheduled For:02-May-2013: 9:00AM; GAEL D. WOOD: Setting: 1: Franklin County: Length: 3 Days
06-Mar-2013         Judge Assigned
                    SUPREME COURT ASSIGNMENT TO JUDGE KEITH SUTHERLAND. FILED.
                    JudgelClerk Note
                                 -




07-Mar-2013         Subpoena Served
                    VALERIE WEINHAUS CHM MATTHEW FOX, PAT CUNNINGHAM, MICK MARUSCHAK, S.
                    MERTENS, JAMES HOFFMAN. SGT PERRY SMITH, JEFF WHITE
                    Jury Trial Scheduled
                                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                        FRANKLIN COUNTY                                  Tme      9 48 59AM
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 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                               Security Level: I Public
                     Scheduled For:30-Apr-2013 : 9:00 AM: KEITH M SUTHERLAND; Setting: 0: Franklin
                     County: Length: 3 Days
                    Pre-trial Conference Scheduled
                    Scheduled For: 19-Mar-2013; 9:00 AM: KEITH M SUTHERLAND; Setting: 0; Franklin County
08-Mar-2013         Answer Filed
                    STATES SUPPLEMENTAL ANSWER TO DISCOVERY
                    Filed By: ROBERT E PARKS
                    List of Witnesses
                    ENDORSEMENT OF WITNESS(ES)
                    Filed By: ROBERT E PARKS
                    Answer Filed
                    STATES ANSWER TO DEFENDANTS REQUEST FOR DISCOVERY
                    Filed By: ROBERT E PARKS
11-Mar-2013         Motion to Dismiss
                    MOTION TO DISMISS FILED
                    Filed By: JEFFREY R WEINHAUS
                    Notice of Hearing Filed
                    NOTICE FOR HEARING ON DISMISSAL OR ALTERATIVE SURETY BOND
                    Filed By: JEFFREY R WEINHAUS
15-Mar-2013         Motion Filed
                    FOR RETURN OF PERSONAL EFFECTS.
                    Filed By: JEFFREY R WEINHAUS
18-Mar-2013         Motion to Quash
                    Filed By: JEFFREY R WEINHAUS
19-Mar-2013        Hearing Held
                    Memorandum Filed
                    MEMORANDUM ON NON WRITTEN WAIVER OF COUNSEL
                    Hearing Held
                    State by PA Robert Parks. Defendant in person and in custody. Case called on record for motions
                    hearing and pre-trial conference. State requests leave to amend Indictment by interlineation to correct
                   the body of Count V to read ‘the defendant committed the felony of attempted assault of a law
                   enforcement officer charged in Count IV (not VI),” and to correct the body of Count VII to read “the
                   defendant committed the felony of attempted assault of a law enforcement officer charged in Count VI
                   (not IV).” Leave granted. Court takes up Motion for Return of Personal Effects. Motion granted in
                   part, as to gold ring; motion denied in part, as to watch. Court takes up Motion to Quash Indictment.
                   Motion denied. Court takes up Motion to Dismiss. Motion denied. Defendant advised of perils of self
                   representation. Memorandum on Non-Written Waiver of Counsel filed and copy to each party.
                   Defendant requests court take up Bond Motion. PA objects. Court allows motion, hears from
                   defendant and PA, Court leaves bond set at $50,000 cash only and sets $250,000 surety bond. So
                   Ordered: Is! Keith Sutherland
                   Scheduled For: 19-Mar-2013: 9:00 AM: KEITH M SUTHERLAND: Setting: 0: Franklin County
                   JudgelClerk Note
                                -



                   COPY OF LOG SHEET FILED
                                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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  I2AB-CR02409-O1            ST V JEFFREY R WEINHAUS                                            Security Level: I Public

  19-Mar-2013        Motion to Sever Charges
                     DEFENDANTS MOTION TO SEVER THE CHARGES FILED
                     Filed By: JEFFREY R WEINHAUS
                     Bond Set
                     Amount of Bond Set $250000 SURETY: OR $50000 CASH ONLY.
                                           -




                     Stipulation Filed
                     STIPULATION AS TO INTRODUCTION OF THE TAPE MADE BY DEFENDANTS EX-WIFE INTO
                     EVIDENCE FILED.
                     Order
                     Order to return to defendant or his representative (1) gold ring now in the possession of Troop C
                     evidence officer: and to retain the Black and Silver Watch in the possession of Troop C evidence
                     officer (see order). Is! Keith Sutherland
                     Motion Denied
                            18-Mar-2013        Motion to Quash
                     Motion Denied
                            11-Mar-20 13       Motion to Dismiss
                     Motion GrantedlSustained
                     IN PART, RING
                            15-Mar-2013        Motion Filed
                    Motion Denied
                    IN PART, WATCH
                           15-Mar-2013         Motion Filed
20-Mar-2013         JudgelClerk Note
                                   -




                    Order
                    SPECIAL CONDITION OF BOND: GPS MONITORING, IS TO BE COMPLETED WITHIN 24 HOURS
                    WITH PROOF FILED. SO ORDERED. IS! KEITH M. SUTHERLAND/RK
21-Mar-2013         Criminal Motion Hearing Sched
                    Scheduled For: 25-Apr-2013, 9:00AM; KEITH M SUTHERLAND; Setting: 0; Franklin County
                    ALL PENDING (AS OF 04/25) MOTIONS
                    Answer Filed
                    STATE’S SUPPLEMENTAL ANSWER TO DISCOVERY.
                    Filed By: ROBERT E PARKS
                    List of Witnesses
                    ENDORSEMENT OF WITNESS
                    Filed By: ROBERT E PARKS
                    Motion for Disclosure
                    STATE’S MOTION FOR DISCLOSURE
                    Filed By: ROBERT E PARKS
01-Apr-2013         Objections Filed
                    DEFENDANT/VICTIM OBJECTION TO NON WRITTEN WAIVER OF COUNSEL AND MOTION TO
                    DISMISS. BASED ON DISCOVERY.
                    Filed By: JEFFREY R WEINHAUS
                                                                                                            Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
      Case: 4:17-cv-01941-DDN Doc. #: 27-6 Filed: 12/22/17 Page: 13 of 99 PageID #: 959

Report: CZROO26                                   20TH JUDICIAL CIRCUIT                 Date   06Feb2014
                                                    FRANKLIN COUNTY                     Time    9 48 59AM
                                              CIRCUIT COURT DOCKET SHEET               Page    10
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I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                Security Level: I Public

0l-Apr-2013        List of Witnesses
                   ENDORSEMENT OF WITNESS
                   Filed By: JEFFREY R WEINHAUS
19-Apr-2013        Motion for Bond Reduction
                   REQUEST FOR EMERGENCY BOND REDUCTION HEARING FILED.
                   Filed By: JEFFREY R WEINHAUS
24-Apr-2013        Motion to Quash
                   STATES MOTION TO QUASH DEFENDANTS ENDORSED WITNESSES FILED.
                   Filed By: ROBERT E PARKS
                   Notice of Hearing Filed
                   FOR 04/25/13 @9 AM,
                   Filed By: ROBERT E PARKS
25-Apr-2013        JudgelClerk Note-


                   COPY OF NOTICE OF ENTRY FOR DOCKET ENTRIES OF 04/25/13 TO PA AND DEFENDANT. RK
                   Motion In Limine
                   STATES MOTION IN LIMINE 1 FILED.
                   Filed By: ROBERT E PARKS
                           12-Sep-2013 Order
                   JudgelClerk     -   Note
                   Hearing Held
                   DEFENDANT IN PERSON AND IN CUSTODY. STATE BY PA ROBERT PARKS. DEFENDANTS
                   MOTION TO SEVER THE CHARGES ARGUED AND DENIED. DEFENDANTNICTIM OBJECTION
                   TO NON WRITTEN WAIVER OF COUNSEL AND MOTION TO DISMISS, BASED ON DISCOVERY
                   ARGUED AND DENIED.
                   DEFENDANTS REQUEST FOR EMERGENCY BOND REDUCTION HEARING ARGUED AND
                   DENIED.
                   STATES MOTION IN LIMINE 1 ARGUED AND GRANTED.
                   STATES ENDORSEMENT OF WITNESSES GRANTED.
                   STATES MOTION TO QUASH DEFENDANT ENDORSED WITNESSES GRANTED AS TO THOSE
                   HIGHLIGHTED IN YELLOW.
                   COPY OF PROSPECTIVE JURORS QUESTIONNAIRES GIVEN TO PA AND DEFENDANT.
                   DEFENDANT AND ANYONE ON HIS BEHALF ORDERED NOT TO COMMUNICATE WITH
                   PROSPECTIVE JURORS PRIOR TO TRIAL IN ANY WAY.
                   DEFENDANT PROVIDES APPLICATION FOR PUBLIC DEFENDER SERVICES TO COURT.
                  COURT ORDERS APPLICATION BE DELIVERED TO PUBLIC DEFENDER BY CLERK. COPY OF
                  APPLICATION FILED UNDER SEAL.
                  CASE REMAINS SET FOR JURY TRIAL 04/30 THRU 5/2/13. 50 ORDERED: KEITH
                  SUTHERLAND/RK
                  Scheduled For: 25-Apr-2013; 9:00 AM; KEITH M SUTHERLAND: Setting: 0; Franklin County
                  ALL PENDING (AS OF 04/25) MOTIONS
                  JudgelClerk Note
                               -



                  ORIGINAL APPLICATION AND AFFIDAVIT FOR PUBLIC DEFENDER SERVICES DELIVERED TO
                  PUBLIC DEFENDERS OFFICE. COPY PLACED IN SEALED ENVELOPE AND FILED
                  JudgelClerk Note
                               -


                  COPY OF RECORDING LOG FILED.
                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                        FRANKLIN COUNTY                      T me     9 48 59AM
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 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                     Security Level: I Public

 26-Apr-2013         Entry of Appearance Filed
                     Filed By: HUGH A EASTWOOD
                     Motion for Continuance
                     DEFENDANTS MOTION FOR TRIAL CONTINUANCE FILED.
                     Filed By: HUGH A EASTWOOD
                            26-Apr-201 3       Motion GrantedlSustained
                     Motion Granted/Sustained
                     DEFENDANTS MOTION FOR TRIAL CONTINUANCE GRANTED BY CONSENT. CASE PASSED
                     GENERALLY.
                     SO ORDERED: KEITH SUTHERLAND!Cw
                     Hearing/Trial Cancelled
                     Scheduled For:30-Apr-2013: 9:00 AM; KEITH M SUTHERLAND; Setting: 0: Franklin
                     County; Length: 3 Days
                     Hearing/Trial Cancelled
                     Scheduled For:01-May-2013 ; 9:00AM; KEITH M SUTHERLAND; Setting: 0; Franklin
                     County; Length: 3 Days
                    Hearing/Trial Cancelled
                    Scheduled For:02-May-2013; 9:00 AM; KEITH M SUTHERLAND; Setting: 0: Franklin
                    County: Length: 3 Days
02-May-2013         Criminal Motion Hearing Sched
                    Scheduled For: 12-Sep-2013; 9:00 AM; KEITH M SUTHERLAND, Setting: 0, Franklin County
                    Jury Trial Scheduled
                    Scheduled For:08-Oct-2013 ; 9:00AM: KEITH M SUTHERLAND: Setting: 0; Franklin
                    County; Length: 3 Days
                    3-DAY JURY TRIAL
14-May-2013         Subpoena Served
                    SGT PERRY SMITH, MSHP
20-May-2013         Subpoena Served
                    CHM MATTHEW FOX. MSHP CRIME LABORATORY
24-May-2013         Subpoena Served
                    JEFF WHITE, LAW ENFORCEMENT TRAINING ACADEMY
                    SGT H FOLSOM, MISSOURI STATE HIGHWAY PATROL
                    MICK MARUSCHAK
                    CPL S MERTENS
                    PAT CUNNINGHAM
                    SGT H FOLSOM
                    JEFF WHITE, LAW ENFORCEMENT TRAINING ACADEMY
06-Jun-2013         Notice to Take Deposition
                    Filed By: HUGH A EASTWOOD
18-Jun-2013         Subpoena Served
                    JAMES HOFFMAN
23-JuI-2013         Certificate of Service
                    CERTIFICATE OF SERVICE. NOTICE OF HEARING
                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
       Case: 4:17-cv-01941-DDN Doc. #: 27-6 Filed: 12/22/17 Page: 15 of 99 PageID #: 961

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 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                            Security Level: I Public
                    Filed By: HUGH A EASTWOOD
                    Motion to Sever Charges
                    DEFENDANTS SECOND MOTION TO SEVER OFFENSES
                    Filed By: HUGH A EASTWOOD
 06-Aug-20 13       Request for Speedy Trial Filed
                    VERIFIED ANNOUNCEMENT OF READY AND MOTION FOR SPEEDY TRIAL
                    Filed By: HUGH A EASTWOOD
                    Amended MotionlPetition Filed
                    AMENDED SECOND MOTION TO SEVER OFFENSES
                    Filed By: HUGH A EASTWOOD
                            12-Sep-2013  Order
                    Motion to Dismiss
                    MOTION TO DISMISS THE CHARGE OF TAMPERING WITH JUDICIAL OFFICER FOR DEFECT IN
                    THE INSTITUTION OF THE PROSECUTION
                    Filed By: HUGH A EASTWOOD
20-Aug-2013         Motion for Leave
                    REQUEST FOR LEAVE TO FILE A SUBSTITUTE INFORMATION IN LIEU OF INDICTMENT
                    Filed By: ROBERT E PARKS
                            12-Sep-2013 Order
                   Notice of Hearing Filed
                   FOR 09/12/13 @ 9A.M.
                   Filed By: ROBERT E PARKS
21-Aug-2013        Notice of Hearing Filed
                   FOR 09/12/13 @ 9 A.M.
                   Filed By: ROBERT E PARKS
                   Motion Filed
                   MOTION TO TAX DEPOSITIONS AS COURT COSTS
                   Filed By: ROBERT E PARKS
                   Request Filed
                   REQUEST FOR MOTION TO TAX DEPOSITIONS AS COURT COSTS
                   Filed By: ROBERT E PARKS
04-Sep-20 13       Certificate of Service
                   Filed By: HUGH A EASTWOOD
                   Notice of Hearing Filed
                   FOR 09/12/13 c 9A.M.
                   Filed By: HUGH A EASTWOOD
                   Suggestions in Opposition
                   DEFENDANT’S OPPOSITION TO STATES MOTION IN LIMINE
                   Filed By: HUGH A EASTWOOD
                   Motion In Limine
                   DEFENDANT’S MOTION IN LIMINE/MOTION TO EXCLUDE
                   Filed By: HUGH A EASTWOOD
                           12-Sep2013  Order
                                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
      Case: 4:17-cv-01941-DDN Doc. #: 27-6 Filed: 12/22/17 Page: 16 of 99 PageID #: 962

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                                                       FRANKLIN COUNTY                                   Lme       9 48.59AM
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I2AB-CR02409-O1             ST V JEFFREY R WEINHAUS                                              Security Level: I Public

04-Sep-2013        Motion to Dismiss
                   DEFENDANTS AMENDED MOTION TO DISMISS THE CHARGE OF TAMPERING WITH JUDICIAL
                   OFFICER FOR DEFECT IN THE INSTITUTION OF THE PROSECUTION
                   Filed By: HUGH A EASTWOOD
                           12-Sep-2013 Order
                   Affidavit Filed
                   AFFIDAVIT OF JUDY KROPF
                   Filed By: HUGH A EASTWOOD
06-Sep-2013        Motion Filed
                   MOTION TO TAX DEPOSITIONS AS COURT COSTS
                   Filed By: ROBERT E PARKS
                           12-Sep-2013 Order
                   Notice of Hearing Filed
                   Filed By: ROBERT E PARKS
09-Sep-2013        Exhibit Filed
                   Exhibit A, Defendants Opposition to States motion in limine; Electronic Filing Certificate of Service.
                  Filed By: HUGH A EASTWOOD
                  Filed By: JEFFREY R WEINHAUS
11-Sep-20 13      Certificate of Service
                  Certificate of Service; Electronic Filing Certificate of Service.
                  Filed By: HUGH A EASTWOOD
                  Filed By: JEFFREY R WEINHAUS
12-Sep-2013       Hearing Held
                  Scheduled For: 12-Sep-2013: 9:00 AM: KEITH M SUTHERLAND: Setting: 0: Franklin County
                  Substitute Information Filed
                  Filed By: ROBERT E PARKS
                  Order
                  DEFENDANT IS PRESENT IN PERSON, IN CUSTODY AND WITH COUNSEL, HUGH
                   EASTWOOD. PA ROBERT PARKS IS PRESENT. STATE’S MOTION TO TAX DEPOSITIONS AS
                  COURT COSTS HEARD AND GRANTED, DEFENDANT’S AMENDED MOTION TO DISMISS THE
                  CHARGE OF TAMPERING WITH JUDICIAL OFFICER FOR DEFECT IN THE INSTITUTION OF THE
                  PROSECUTION HEARD AND DENIED. DEFENDANT’S AMENDED SECOND MOTION TO SEVER
                  OFFENSES HEARD AND DENIED. STATE’S MOTION IN LIMINE 1 (THAT DEFENDANT NOT BE
                  REFERRED TO AS “VICTIM”) HEARD AND GRANTED EXCEPT AS TO CLOSING ARGUMENT.
                  DEFENDANT’S MOTION IN LIMINE/MOTION TO EXCLUDE HEARD AND GRANTED IN PART AND
                  DENIED IN PART: PARA 1 GRANTED, PARA 2 GRANTED, PARA 3 GRANTED FOR SHOOTING
                  AND OVERRULED FOR SPEECH, PARA 4 OVERRULED, PARA 5 GRANTED, PARA 6 GRANTED
                  PARA 7 GRANTED. PARA 8 GRANTED. STATE GRANTED LEAVE TO FILE SUBSTITUTE
                  INFORMATION IN LIEU OF INDICTMENT. SO ORDERED: KEITH SUTHERLAND/RK
                  Order
                  GRANTING MOT TO TAX DEPOSITIONS FILED ON 09-06-13
                  Filing:
                  RECORDING LOG SHEETS FILED.
                                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                         FRANKLIN COUNTY                                   Tme.     948.59AM
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 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                                 Security Level: I Public

 22-Sep-2013         Motion In Limine
                    Defendants Second Motion in Limine: Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                    Filed By: JEFFREY R WEINHAUS
 01-Oct-2013        Notice of Hearing Filed
                    Notice of Hearing; Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                    Filed By: JEFFREY R WEINHAUS
                    Entry of Appearance Filed
                    Entry of Appearance; Electronic Filing Certificate of Service.
                    Filed By: CHRISTOPHER M COMBS
                    Filed By: JEFFREY R WEINHAUS
                    Note to Clerk eFiling
                    Filed By: CHRISTOPHER M COMBS
02-Oct-2013         Judge/Clerk Note
                                  -



                    NOTIFIED PA AND DEFENSE COUNSEL THAT MOTION IN LIMINE AND OTHER MOTIONS
                    NOTICED FOR 10/08/13 @ 9A.M. WILL BE HEARD ON 10/08/13 8:30 A.M. RK
                    Criminal Motion Hearing Sched
                    Scheduled For: 08-Oct-2013; 8:30 AM; KEITH M SUTHERLAND; Setting: 0; Franklin County
                    MOTIONS
03-Oct-2013         Notice of Hearing Filed
                   Notice; Electronic Filing Certificate of Service.
                   Filed By: ROBERT E PARKS
                   Motion Filed
                   Motion to tax depositions as court cost; proof of deposition cost; Electronic Filing Certificate of Service.
                   Filed By: ROBERT E PARKS
04-Oct-2013        Subpoena Requested
                   Subpoena, Heather R Clarke: Electronic Filing Certificate of Service.
                   Filed By: HUGH A EASTWOOD
                   Subpoena Requested
                   Subpoena, Steve Everhart; Electronic Filing Certificate of Service
                   Filed By: HUGH A EASTWOOD
                   Subpoena Requested
                   Subpoena, Marty Leach; Electronic Filing Certificate of Service.
                   Filed By: HUGH A EASTWOOD
                   Subpoena Requested
                   Subpoena, Jeffrey White; Electronic Filing Certificate of Service.
                   Filed By: HUGH A EASTWOOD
                   Filed By: JEFFREY R WEINHAUS
07-Oct-2013        Suggestions in Opposition
                   Defendants Opposition to State s Motion in Limine 2 Electronic Filing Certificate of Service.
                   Filed By: HUGH A EASTWOOD
                                                                                                                       Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
      Case: 4:17-cv-01941-DDN Doc. #: 27-6 Filed: 12/22/17 Page: 18 of 99 PageID #: 964

 Report: CZR0026                                     20TH JUDICIAL CIRCUIT                      Date     06-Feb-2014
                                                       FRANKLIN COUNTY                          Time     948 59AM
                                                 CIRCUIT COURT DOCKET SHEET                     Page     15

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 I2AB-CR02409-O1              ST V JEFFREY R WEINHAUS                                    Security Level: I Public
                       Filed By: JEFFREY R WEINHAUS
08-Oct-2013            Motion In Limine
                       STATES MOTION IN LIMINE 2
                       Filed By: ROBERT E PARKS
                       Hearing Held
                       Sched Wed For: 08-Oct-2013: 8:30 AM; KEITH M SUTHERLAND; Setting: 0: Franklin County
                       MOTIONS
                       Jury Trial Conducted
                       STATE BY PA ROBERT PARKS. DEFENDANT IN PERSON. IN CUSTODY AND WITH COUNSEL
                       HUGH EASTWOOD AND CHRISTOPHER COMBS. STATES MOTION IN LIMINE 2 FILED,
                       ARGUED AND DENIED. CASE CALLED FOR JURY TRIAL. VOIR DIRE CONDUCTED. JURY OF
                       TWELVE MEMBERS AND ONE ALTERNATE EMPANELED. TRIAL BEGAN. COURT RECESSED
                       AT 5 P.M. FOR EVENING.
                       Jury Instructions Filed
                       JudgelClerk Note
                                      -



                       JUDGES NOTES
09-Oct-2013            Motion for Acquittal
                       Filed By: HUGH A EASTWOOD
                   Jury Trial Conducted
                   8:35 A.M. ALL PARTIES PRESENT AND TRIAL RESUMED. STATE RESTED AND JURY EXCUSED
                   FOR EVENING AT 4:10PM. AT CONCLUSION OF STATES CASE, DEFENDANT FILED MOTION
                   FOR JUDGMENT OF ACQUITTAL. MOTION ARGUED AND GRANTED AS TO COUNTS II AND VIII
                   AND DENIED AS TO COUNTS I. III, IV, V, VI, VII.
10-Oot-2013        Jury Trial Conducted
                   8:30 A.M. ALL PARTIES PRESENT AND TRIAL RESUMED. DEFENSE RESTED. JURY REMOVED
                   FOR INSTRUCTION CONFERENCE. DEFENSES MOTION FOR JUDGMENT OF ACQUITTAL
                   RENEWED AND DENIED AS TO REMAINING COUNTS. INSTRUCTION CONFERENCE
                   CONDUCTED. JURY SEATED AND INSTRUCTED. CLOSING ARGUMENTS HELD. ALTERNATE
                   JUROR EXCUSED. JURY RETIRED TO JURY ROOM FOR DELIBERATION AT 10:52 A.M.
                   VERDICT REACHED AT 2:20 P.M. AS FOLLOWS: GUILTY ON COUNTS I, Ill, IV, V; NOT GUILTY
                   ON COUNTS VI AND VII. JURY POLLED. JURY REMOVED FOR INSTRUCTION CONFERENCE
                   CONFERENCE HELD. JURY SEATED AND INSTRUCTED. SENTENCING STATEMENTS MADE
                   BY PA PARKS AND ADFT EASTWOOD, JURY RETIRED TO JURY ROOM FOR DELIBERATION
                   AT 3:20 P.M VERDICT REACHED AT 4:44 P.M AS TO SENTENCING: COUNT I: 2 YRS DOC.
                   COUNT III: 1 YR FRANKLIN COUNTY JAIL: COUNT IV: 30 YEARS DOC: COUNT V 30 YEARS
                   DOC. ALL VERDICTS ORDERED FILED JURY THANKED AND EXCUSED
                   >

                   > AT EACH BREAK DURING TRIAL, JURY INSTRUCTED PRIOR TO LEAVING COURTROOM.

                   >SAR ORDERED. SENTENCING HEARING SCHEDULED FOR 11/25/13 @ 9:30 AM.
                   DEFENDANT GRANTED ADDITIONAL 10 DAYS FOR FILING MOTION FOR NEW TRIAL.
                   >

                   > SO ORDERED KEITH M. SUTHERLAND
                   Jury Verdict Guilty
                                  -




                   Questions to Judge from Jury
                                                                                                                                   Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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 I2AB-CR02409-O1             ST V JEFFREY R WEINHAUS                                               Security Level: I Public

 10-Oct-2013         Sent Assessment Report Ordered
 11-Oct-2013        Sentencing Hearing Scheduled
                    Scheduled For: 25-Nov-2013; 9:30 AM; KEITH M SUTHERLAND; Setting: 0; Franklin County
                    MOTIONS/SENTENCING
 16-Oct-2013        Motion for New Trial
                    Filed By: JEFFREY R WEINHAUS
                            25-Nov-2013  Motion Denied
 29-Oct-20 13       Notice
                    notice; Electronic Filing Certificate of Service.
                    Filed By: ROBERT E PARKS
                    Motion Filed
                    motion to tax depositions as court costs; deposition cost; Electronic Filing Certificate of Service.
                    Filed By: ROBERT E PARKS
                            25-Nov-20 13     Motion Granted/Sustained
                    Motion for New Trial
                    Defendant s Motion for New Trial; Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                             25-Nov-2013       Motion Denied
                    Motion for Acquittal
                    Defendant s Second Motion for Acquittal; Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                             25-Nov-2013       Motion Denied
                    Notice of Hearing Filed
                   Notice of Hearing; Electronic Filing Certificate of Service.
                   Filed By: HUGH A EASTWOOD
                   Filed By: JEFFREY R WEINHAUS
30-Oct-2013        Motion Filed
                   Defendants Motion to Tax Depositions as Court Costs, and Other Court Costs: Ex A, Deposition Court
                   Reporter Costs: Ex B. Clarke subpoena service fee: Ex C, Leach and Everhart subpoena service fees:
                   Ex D, White subpoena service fee: Electronic Filing Certificate of Service.
                   Filed By: HUGH A EASTWOOD
                   Filed By: JEFFREY R WEINHAUS
                           25-Nov-201 3    Motion Granted/Sustained
01-Nov-2013        Notice of Hearing Filed
                   notice, Electronic Filing Certificate of Service.
                   Filed By: ROBERT E PARKS
08-Nov-2013        Notice of Hearing Filed
                   notice, Electronic Filing Certificate of Service.
                   Filed By: ROBERT E PARKS
                   Motion Filed
                   States motion to forfeit weapon: Electronic Filing Certificate of Service.
                   Filed By: ROBERT E PARKS
                           25 Nov-2013       Motion GrantedlSustained
                                                                                                                            Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                       FRANKLIN COUNTY                             Time       948 59AM
                                                 CIRCUIT COURT DOCKET SHEET                        Page       17

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 I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                                          Security Level: I Public

 15-Nov-2013        Response Filed
                    Defendant s Memorandum in Opposition to State s Motion to Forfeit Weapon; Exhibit A Affidavit of
                                                                                                          -



                    Judy Kropf; Ex B Receipt: Electronic Filing Certificate of Service.
                                      -



                    Filed By: HUGH A EASTWOOD
                    Filed By: JEFFREY R WEINHAUS
                    Suggestions Filed
                    Defendant s Supplemental Suggestions of Law in support of each of his original, renewed & second
                    motions for judgment of acquittal; Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                    Filed By: JEFFREY R WEINHAUS
22-Nov-2013         Sent Assessment Report Filed
25-Nov-2013         Motion Denied
                    DEFENDANTS MOTION FOR NEW TRIAL DENIED. KMS
                    Motion Granted!Sustained
                   ALL MOTIONS TO TAX DEPOSITIONS AS COURT COSTS GRANTED. KMS
                    Motion Denied
                   DEFENDANTS SECOND MOTION FOR ACQUITTAL DENIED. KMS
                   Motion GrantedlSustained
                   STATE’S MOTION TO FORFEIT WEAPON GRANTED, FORFEITURE STAYED PENDING APPEAL
                   AND POST CONVICTION RELIEF PROCESSES. KMS
                   Defendant Sentenced
                   DEFENDANT IN CUSTODY, IN PERSON AND WITH COUNSEL HUGH EASTWOOD AND
                   CHRISTOPHER COMBS. STATE BY PA ROBERT PARKS. ALLOCUTION GRANTED. COUNT I:
                   2 YRS DOC; COUNT III: 1 YR COUNTY JAIL; COUNT IV: 30 YRS DOC; COUNT Vs 30 YRS DOC,
                   ALL CONCURRENT. CC/CVF. 29.15/24.035 ADVISED AND NO PROBABLE CAUSE FOUND. SO
                   ORDERED: KEITH M. SUTHERLAND
                   Judgment CVC Entered
                   Judgment Against: JEFFREY WEINHAUS; Amount: $68.00: Satisfied Date:
                   Judgment Entered
                   COURT COSTS
                   Judgment Against: JEFFREY WEINHAUS; Amount: $20,006.25; Satisfied Date:
                   Transfer Filed
                   Commitment report: Electronic Filing Certificate of Service
                   Filed By: ROBERT E PARKS
26-Nov-2013        Record of Traffic Disp Issued
                   The Traffic Disposition was sent electronically to DOR and MSHP for charge number 3 violation
                   3245700 Possession Of Up To 35 Grams Marijuana. The charge was disposed as Jury Verdict-Guilty
                            -




                   Record of Traffic Disp Issued
                   The Traffic Disposition was sent electronically to DOR and MSHP for charge number 1 violation
                   3245000 Possession Of Controlled Substance Except 35 Grams Or Less Of Marijuana. The charge
                            -




                   was disposed as Jury Verdict-Guilty
                                                                                                                               Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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  Report: CZROO26                                      20TH JUDICIAL CIRCUIT                              Date   06-Feb.2014
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  12A8-CR02409-O1           ST V JEFFREY R WEINHAUS                                               Security Level: I Public

 27-Nov-20 13         Notice of Appeal Filed
                      Notice of Appeal form no 8-A: Criminal Case Information Form E D Local Rule 300: Judgment:
                      Electronic Filing Certificate of Service.
                      Filed By: HUGH A EASTWOOD
                      Filed By: JEFFREY R WEINHAUS
 03-Dec-2013         Motion Filed
                     MOTION FOR RETURN OF PROPERTY OR EVIDENCE
                     Filed By: ROBERT E PARKS
                             05-Dec-20 13      Motion Granted!Sustained
                             23-Jan-2014       Motion Granted/Sustained
 05-Dec-2013         Ord Allow In Forma Pauperis
                     Defendant granted leave to appeal in forma pauperis. s/Keith Sutherland via email
                     Filed By: KEITH M SUTHERLAND
                     Motion GrantedlSustained
                     MOTION FOR RETURN OF PROPERTY OR EVIDENCE GRANTED. SO ORDERED: KEITH M.
                     SUTHERLAND
 09-Dec-2013         Certificate of Mailing
                     NOTICE OF APPEAL, CRIIMINAL CASE INFORMATION FORM, PAUPERIS ORDER. & COPY OF
                     JUDGMENT MAILED TO THE MISSOURI COURT OF APPEALS, TO ROBERT PARKS AND
                     NOTICE OF ENTRY TO HUGH EASTWOOD.
                     Motion for Apptmnt of Counsel
                     Defendants Motion for Appointment of Counsel; Electronic Filing Certificate of Service.
                     Filed By: HUGH A EASTWOOD
                             1 0-Dec-201 3  Motion GrantedlSustained
                    Memorandum Filed
                    Defendant-Appellants Statement of his Status; Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                    Motion to Withdraw
                    Motion to Withdraw: Electronic Filing Certificate of Service.
                    Filed By: HUGH A EASTWOOD
                    Filed By: JEFFREY R WEINHAUS
1 0-Dec-201 3       Motion GrantedlSustained
                    MOTION FOR APPOINTMENT OF COUNSEL GRANTED. PUBLIC DEFENDER APPOINTED SO
                    ORDERED KEITH SUTHERLAND
16-Dec-2013         Receipt Filed
                    MISSOURI COURT OF APPEALS-EASTERN DISTRICT ACKNOWLEDGEMENT OF NOTICE OF
                    APPEAL, FILING
                    APPEALS COURT CASE NO ED100807.
23-Dec-2013         Correspondence Filed
                    Letter to clerk, received & scanned.
                    Filed By: JEFFREY R WEINHAUS
24-Dec-201 3        Certificate of Mailing
                    Notice of 12/23/13 correspondence. filing to Defendant.
                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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Report: CZROO26                             20TH JUDICIAL CIRCUIT                 Date.    C6-Feb-2014
                                              FRANKLIN COUNTY                     Tme.     948 59AM
                                        CIRCUIT COURT DOCKET SHEET                Page     19

Case continued from previous page.


I2AB-CR02409-O1           ST V JEFFREY R WEINHAUS                           Security Level: I Public

13-Jan-2014        Judge/Clerk Note
17-Jan-2014        JudgelClerk Note
                   STATES EXHIBITS #1 AND #2 FROM MOTION HEARING ON 02/21/13 RETURNED TO
                   PROSECUTOR.
23-Jan-2014        Motion GrantedlSustained
                   ORDER GRANTING REQUEST FOR DISPOSAL OF PROPERTY OR EVIDENCE RECEIVED FROM
                   JUDGE SUTHERLAND. (THIS MOTION ORIGINALLY GRANTED ON 12/05/2013.)
28-Jan-20 14       Judge/Clerk Note
                                 -



                  COPY OF ORDER GRANTING REQUEST FOR DISPOSAL OF PROERTY OR EVIDENCE MAILED
                  TO SGT. VOLKMER AT MSHP, TROOP I, P 0 BOX 128. ROLLA MO 65402,
06-Feb-20 14      Judge/Clerk Note
                                 -



                  LEGAL FILE COPIED, COMPILED CERTIFIED AND MAILED TO, AMY BARTHOLOW, MISSOURI
                  PUBLIC DEFENDERS OFFICE, APPELLATE DIVISION, WOODRAIL CENTRE, 1000W NIFONG
                  BUILDING 7, SUITE 100, COLUMBIA, MO 65203
                                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                           IN I I IF Cli   UI I COt RI OF FIlE COUNTY OF FRANKLIN
                                                    SIAIF’,OI MISSOURI

STM F OF MISSOURI.
                 Plaintiff.                                  Cause No.     l2\B-CR02409
                                                         I   Division No. II
        VS                                               I   OCN:
                                                             PA File No. 071131707
JEFFERY R WEINHAUS
White/Male DOB: 10/06/1966
SSN: XXX-XX-XXXX                                                                                  2
                                                                                                  NO
2360 Highway K                                                                                           820,2
Saint Clair, MO 63077
                     Defendan                                INDIC FMENF
                                                                                            Q?.
                                  -
                                                                                             I             r-.•

‘l’he Grand Jurors of the Count .fFra-..1in, State of Missouri, charge that:

               COUNT I CLASS C Fl.LONY POSSESSION OF A CONTROLLED SUBSTANCE
                                    Charge Code Number: 3245022

The defendant, in violation of Sction 195.202, RSMo, committed the class C felony of possession of a controlled
substance, punishable upon corn .tio     1 S.’ctions 558.011 and 560.01 1, RSMo, in that on or about August 22,
20 12, in the County of Franklin. State           the defendant possessed Morphine, a controlled substance, knowing
of its presence and nature.

                  COIJNT II ( LASS         FF ONY TAMPERING WITH JUIMCIAL OFFICER
                                            Charge Code Number: 2921706

 The defendant, in violation of SLeoo ‘(5,( I RSMo, committed the class C felony of tampering with ajudicial
officer, punishable upon conviction uncr SeLtions 558.011 and 560.011, RSMo, in that on or about August 17, 2012,
 in the County of Franklin, State fMi      r c defendant, with purpose to harass or intimidate Judge Kelly Parker, a
                                            .   ‘



judicial officer, in the performar             1 officer’s official duties, tampered with the judicial officer by
threatening to try  and  execute J ‘f’-’ I     r  for treason.

         COUNT III CLASS A MIS EMI:ANOR POSSESSION OF UP TO 35 GRAMS MARIJUANA
                                     ‘e Code Number: 3245762

The defendant, in violation of S etron ‘S2(” RSMo, committed the class A misdemeanor of possession of a
controlled substance, pun ishab F            i under Sections 558.011 and 560.0 16, RSMo, in that on or about

August 22, 2012. in the County lr        i.    of Missoun, the defendant possessed marijuana, a controlled
                                                    ‘.




substance, knowing of its pr’se1.

      COUNT IV CLASS          I                     1PT ASSUAL’I’ 1ST 1)E(;REE ON LAW ENFORCEMENT
                                                         OFFICER,
                                                    g (‘ode Number: 1310099

 fhe defendant, in vrolation of I e d               iolation ofSection 565.081.1, RSMo, committed the class A felony
of assault of a law enforcement ff’m”                 degree punishable upon conviction under Section 558.011. RSMo. in
that on or about September 1                        ‘v of Franklin, State of Missouri, Sgt Folsom as a law enforcement
officer, the defendant kne Sot                         enforcement officer and attempted to kill or to cause serious
physical injury to him. b sho
                                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                SS U ARMED CRIMINAL ACTION
                                              C ‘‘e Code Number: 3101099

I he defendant, in violation of S                 SMo, committed the felony of armed criminal action, punishable
upon conviction under Section            1)        in that on or about September Il. 2012, in the county of Franklin.
State of Missouri. the defeadani                   Ofl\ of attempted assault of a law enforcement officer charged in
Coun’t. all allega ions at v h                    d herein by reference, and the defendant committed the foregoing
6lony of attempted aauit ‘l                       officer by, with and through, the knowing use, assistance and aid at’ a
deadly weapon.

      COUNT VI CLASS A F                          WI’ ASSUAL’1’ 1ST DEGREE ON LAW ENFORCEMENT
                                                     OFFICER,
                                                ‘ocCodeNumber: 1310099

 I he defendant, in violation of                 iolation of Section 565.081 1. RSMo. committed the class A felony
of assault of a la enfareinent                    degree punishable upon conviction under Section 558.011. RSMo. in
that on or about Sep’ih’r I                       v of Franklin, State of Missouri, Cpl Mertens was a law enforcement
officer, the defendai                               enforcement officer and attempted to kill or to cause serious
physical injury to him, by shoe:

                                  (               55 U ARMED CRIMINAL ACTION
                                                 ‘e Code Number: 3 101099

The defendant, in violation of S      ‘lie’      SMo. committed the felony of armed criminal action, punishable
upon conviction und ecti ,n                         in that on or about September 11, 2012, in the county of Franklin.
State of Missouri, th I ‘Te:, ‘n.                ‘any of attempted assault of a law enforcement officer charged in
Count4 all allep       ‘s a!’’                    .1 herein by reference, and the defendant committed the foregoing
felony of attempte’    2                          dficer by, with and through. the knowing use, assistance and aid of a
deadly weapon.

    COUNT VIII CLASS 1)                          FING OR INTERFERING WITH ARREST FOR A FELONY
                                                 e ( ode Number: 2702099


The defendant, in violation of’S                   SMo, committed the class I) felony of resisting an arrest, punishable
upon conviction un r 5                            ‘011, RSMo, in that on or about September II, 2012, in the county of
Franklin, State of       i’r                       lertens, law enforcement officers, were making an arrest of for
defendant possessi       a                         d the defendant knew or reasonably should have known that the
officers were mat:         -‘
                                                   c of preventing the officers from effecting the arrest, resisted the
arrest of defendant                              se of violence or physical force.




A FRUL Bil I                                       I 13ill



F oreman                                                                    ¶isiant) Prosecuting Attorrie

As a condition of release for d                 et in the amount of$      2- S                C4S4
                                                                                 I




                                                                                                                            -5’
                                                                                                                             ‘4
                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                        Judge

STA FE WITNESSES:
SGY II. Folsom, Missoun State High   In   tdqudrters. Rolla, MO 65402
Kelly Parker
                                                                                                                            Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                             l\ El IF ( IRCUI’I COUR I OF I IlL C0 N I      \‘   01 FRANKLIN
                                                 S’l A I L 01 MISSOURI

  SIAI[OFMISSOLRI,                                  )
                 Plaintill.                          )   Cause No.    I 2ARCR0409-0l
                                                         Di’ision No.1
                                                         Judge: St
         VS                                         )    OCN:
                                                          PA File No. 0711U707                              cr
 JI:I1LRY R Vv UNIIAUS                              )                                              BILL n
 Vhite/Male DOB: 10/06/1966                         )                                          ,

 SSN: 486-803880                                    )    SUBSEIFt IF INFORMA liON                                “‘M1SSoU
                    Defendant.                      )    IN LILU 01 INDICTMEN’I

  1 he Prosecuting Attorney in the Count\ of FrankliH, State of Missouri, charges that:

                COUNT 1 CLASS C FELONY POSSESSION OF A CONTROLLED SUBSTANCE
                                    Charge Code Number: 3245022

  Fhe defendant, in violation of Section 195.202. RSMo, committed the class C felony of possession of a
 controlled substance, punishable upon conviction under Sections 558.011 and 560.011, RSMo. in that on or
 about August 22. 2012, in the County of Iranklin. State of Missouri. the defendant possessed Morphine, a
 controlled substance. knowing of its presence and nature.

                   COUNT II CLASS C FELONY ‘I’AMPERING WITH JUI)ICJAL OFFICER
                                     C1iarg Code Number: 2921706

The defendant, in violation of Section 565.084, RSMo, committed the class C felony of tampering with a
judicial officer, punishable upon conviction under Sections 558.011 and 560.011, RSMo, in that on or about
August 17, 2012. in the County of Franklin, State of Missouri, the defendant, with purpose to harass or
intimidate Judge Kelly Parker. ajudicial officer, in the perfbm’iance of the judicial officer’s official duties.
tampered with the judicial officer by threatening to try and execute the Judge Kelly Parker for treason.

         COUNT 111 CLASS A MISDEMEANOR POSSFSSION OF UP TO 35 GRAMS MARIJUANA
                                 (‘barge Code Number: 3245762

 I’he defendant, in violation of Section 195.202, RSMo, committed the class A misdemeanor of possession of a
controlled substance, punishable upon conviction under Sections 558.011 and 560.0 16. RSMo. in that on or
about August 22, 2012. in the County of Franklin. State of Missouri, the defendant possessed marijuana, a
controlled substance, knowing of its presence and nature.

COUNT IV CLASS A FELONY A [TEMPT ASSUALT 1ST 1)EGREI: ON LAW ENFORCEMENT OFFICER
                              (‘barge Code Number: 1310099

 the defendant, in violation ot Section 565,081 1. RSMo, committed the class A felony of attempted assault of a
law enforcement officer in the first degree punishable upon coniction under Section 558.011. RSMo. in that
on or about September 11. 2012. in the County of Franklin. State of Missouri. Sgt Folsom was a lass
enfbrcenient officer, the defendant knev. Sg. Folsom sas a lass enforcement officer and atiempted to kill or
to cause serious physical injury to him. b trying to draw a weapon to shoot at Sgt lolsorn.
                                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                               COIL NT V (‘lASS U ARMED CRIMINAL ACTION
                                         ( barge Code Number 3101099

 The defendant. in iolationof Section 571.015, RSMo. committed the felony of armed criminal action,
punishable upon conviction under Section 571.015,1, RSMo, in that on or about September 11,2012, in the
county of Franklin. State of Missouri, the defendant committed the felony of attempted assault of a law
enforcement officer charged in Count Fv. all allegations of which are incorporated herein by reference, and
the defendant committed the fbregoing felony of attempted assault of a law enforcement officer by, with and
through, the knowing use, assistance and aid of a deadly weapon.

      COUNT VI CLASS A FELONY ATTEMP I’ ASSUALT I Si I)E(;REE ON LA4 ENFORCEMENT
                                        OFFICER,
                               Charge Code Number: 1310099

‘The defendant, in violation of Section 565.081 .1, RSMo, committed the class A felony of assault of a law enforcement
officer in the first degree punishable upon conviction under Section 558.011, RSMo, in that on or about September 11.
2012, in the County of Franklin, State of Missouri, Cpl Mertens was a law enforcement officer, the defendant
knew Cpl Mertens was a law enforcement officer and attempted to kill or to cause serious physical injury to him, by
trying to draw a weapon to shoot at Cpl Mertens,

                             COUNT VII CLASS U ARMED CRIMINAL ACTION
                                      Charge Code Number: 3101099

The defendant, in violation of Section 571.015, RSMo, committed the felony of armed criminal action,
punishable upon conviction under Section 571.015.1, RSMo, in that on or about September 11, 2012. in the
county of Franklin, State of Missouri, the defendant committed the felony of attempted assault of a law
enforcement officer charged in Count VI, all allegations of which are incorporated herein by reference, and
the defendant committed the foregoing ftlony of attempted assault of a law enforcement officer by. with and
through, the knowing use, assistance and aid of a deadly weapon.

    COUNT VIII CLASS D FELONY RESISTING OR INTERFERING WiTH ARREST FOR A FELONY
                               Charge Code Number: 2702099

The defendant, in violation of Section 575.1 50, RSMo, committed the class I) felony of resisting an arrest,
punishable upon conviction under Sections 558.011 and 560.011. RSMo, in that on or about September 11,
2012, in the county of Franklin, State of Missouri, Sgt Folsom and Cpl Mertens, law enforcement officers,
were making an arrest of for defendant possession of a controlled substance and the defendant knew or
reasonably should have known that the officers were making an arrest. and. for the purpose of preventing the
officers from effecting the arrest, resisted the arrest of defendant by using or threatening the use of violence
or physical force.
                                                ROI3ER I L PARKS
                                                Prosecuting Attorney
                                                of the County of Franklin,
                                                State of Missouri, by
                                                Is! Robert I. Parks

                                                Robert E Parks ‘6333
                                                Prosecuting Attorney
                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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ST\TE WI fNESSES:

  Pat (unnmgharn. 1400 Independence Drke. Suite 1102. RoHa .M()
  Mike Maruschak. 1400 Independence Drie. Suite 1402. Rolla. Mo
  Sarah Eerhart.
 SGT H Folsom. Missouri State Highway Patrol. I roop I Headquarters. Roila. MO 6402
 (‘I IM \4anhe Fox. MSI IP ( rime Laborator. 151(1 Fast Nm Street. Jefferson Cit’... MO) 65 101
  Phil Gregor.
  James Hoffinan. 1616 Oak knoll. Saint (lair. MO 63077
  S. Mertens. Troop I Headquarters. Rolla. Mo 65402
  KelI Parker.
 SG1 Perry Smith, Missouri State Highway Patrol. 891 Technology Drive, Saint Charles, MO 63304
  Valerie Weinhaus, 711 S. Osteopathy, Kirksville. MO 63501
  Jeff White, P.O. Box 568, Jefferson City. MO 65102
                                                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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              TN fl-IF CIRC[i I CDL 1<1 01’ IRANKIIN COLN I Y. S I A Ii’ OF                              15501 RI

      State of MissourL                                                                                                     FILED
      ‘is.                                                             Cause No. I2:\-CR024tP?
                                                                                                                             DECi
                                                                                                                         BILL ft MILLER   j   c
     Jeffrey Weinhaus,                                         )       Judge. (ael \k oud                            y

                           Defendant.

                                               R1.Qt [:51’ FOR I)ISCOVER\

                 COMES NO\V de6.mdunt. b and through counsel. pursuaii:                     to   Rules 1’     ti   and

     25.04 \lo.R.Crim,P. and Section 505.032 RSMo (1986). and requests the lollowing

     within ten (10) days and or throughout the duration of this cause.

     1. The names and last knon addresses of persons whom the State intends to call us

             witnesses at any hearin or at the trial, together with their riiten or recorded

             statements, and existing neinuranda reporting or           sumniariy.tng      part of all   of   their oral

             statements.

     2       Should the defendant notify the State of its intent to rely upon the defenses of mental

             disease or delect pursuai’i to Section 552.030 RSMo or alibi, the defendant

             specifically requests the names and addresses of all witiiecses the State intends o call

             as rebuttal witnesses, together with any written memoranda ol their statements.

             Wardiusv. Oregon. .112 ‘.S. 470. 93 S.C’t, 2208. 37 L.Fd.2d 82 (I 973) State v.

             Curtis. 544 S.W Jd 580 (Mo bane 1976).

     3. Any writlen or rccordeu                 a enients and the substance of   any    oral tatenients made h

             the defendant or          a e:JenLm;irt a list of all witncsse      to   tIme mnakirme. m’d a

             all mtnesse to :ue aekmi’ ledonieni. or such statements, and lust Lno n addicses of

             such witnesses

     4       fhose portions   (       umi\ existing transcript of the grand jun proceedings shich relate to

             the offense    ith   ‘   hm   .   tondant is chanced, containing testmnmorm\ of the def’mxluni or
                                                                                                                                       Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                   I   ad                                                   ‘S
         testimon> or pen          I1          i   the State intends to call as sitneses at a hearing ‘r tria’.

      5 An> existing trw cr.’  .               lie pret minar> hearing of an> prior trial held in the

         detendanfs ease .fx             S   .:t   has such in it pocsession ox if cacli         1%   available   ti’   tli,

         State.

      6 An> reports or si w,..:n               ‘f experts. made in connection ‘sith tile particulax case.

         including results e. I                at or mental examinations and (It scientific tests.

         experiments ore       ‘xt; ..‘n       .




      7. An> books, papta documents, photographs or objects which the State intends to

         introduce into e’ iuc. e “. the hearing or trial, or which sere obtained from or belong

         to the defendant

      8. An> record ol whir cn.:.i1 convictions of persons the State intends to call as

         wtnesses at a hL’arin. or ‘nat.

      9. A written statement bj crnnsel for the State setting forth the facts relating to the time,

                            g any photographic or electronic surveillance relating to the
         place. and persons in.iki
                            11

         offense with wWcli;                   fendant is charged

      10. An> material or :n”                 on. n ithin   the possession      or   control of the State. ss hich

         tends to negate ‘l’e           •. J          dekndant as to the oflcnse charged, mitigate the

         degree of the olCe:’           cuarged. ox reduce the punishment.

      ll.Allitemssetcn’            p         ..regomg paragraphs which are known to the State to be in the

         possession ox   c’                   t..:r gin ernment personnel.

      12 1 he statements                      ins s ho ha e been inters iewed in             in agent of    the State in

         comiection   ssit!.                  t    matter LII   this   cause anJ sl,oni the State doc not

         presenti> intent                    ,ttnal

      13. ibe meinoranit.. o.                .aries of an oral statement nude to an apent of the State 1’y

          an person tnt                            ith the subject matter of this cause whether or not




                                                                                                                               cr2-i
                                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                   C

                     a. th” si             ‘1 nt.      it   in writing. Iia been signed or approted I’> the

                                •:             I;)




                     l th:                       at   relates to the proposed suhiect matter of the di:ect

                                           •    •     the nitnes’ at trial.

      14. The statements l                       or memoranda or recoadings olan> oral statement pertinent

         to the subject rnt’:x                 .in   case whether or not made to an agent of the State

      15. An) memoranda.                       •.nt% or statements used I’> the State during the in e%tigation

         of this case.

      16. The names and .u                       ‘fall rersons who ma’ ha’ e some kiiowledge of the faetc

         of the present ca:e

      17. All reports and   rat.       ..m.Ja prepared on behalf of the State or otherwise used in

         connection with :1 e          .c. .amgation          of this case.

      18. All reports. mci             i        and any other data in the handc of the State and its agents in

         regard to defenc ant.

      19.PursuanttoRS’’                -        ‘5. notice of all statutor> and non statutory aggravating

         circumstances t                         Won will rely upon if the death penalty is sought. and an)

         material or inib                            thin the possession or control of the State which the

         prosecution     anti                   • as e idence of all aggraatmg circumstances or as et idence

         in general duria                       .alts phase In this cause

      20. 4ny material ii                       ‘on within the possession or control of the State relating to

         the mitigating t                        ccx of RSMo 56.032 (1986)

                                                 oh reraons known to the State or       IdA   1
                                                                                              enfo
                                                                                              n     t arenties
                                                                                                   aen
      2l.lhenamcf.ant.
                                                                                                        jj)I
                                                                                                               (l98(;;
          haung inform.                          ig t tnt mitiating circuni Lance Of RSMo c5

      22. Statements of                         I Ot   person% which were shown, read. pla>ed. or paraphrased
                                                                                                       of
          to the detendi                        n’s interrogation or interview conducted b> any member




                                                                                                                         c   ‘.

                                                                                                                         .Lb
                                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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         any 1av enc.o

     23 Current or most        i    esses and telephone numbers, kriossri to lass cnfhrcenicnt

         agencies, of ill p         r\ ieed in the couise of the ins esnation of ‘he inLidOnt

     24 Copies of hook ii           ic   defendant prepared h ails lass colorcemeiit

         agencies reiatin.         ondant this case, the incident, or the ins estigation.

     25. All press reiLa’4.,       m an ia\4 enforcement agencies relating to the

         defendant, this c          dent, or the insestigation.

     26. Copies of all 911         I other police radio calls or dispatches reflecting the initial

         call fbr assisranc        iough those retlccting the arrest of the delndailt




                                                     son Mutrux. #63 117

                                                   \ttorney for   Defendant
                                                   1717 Park \‘veflue
                                                  St. Louis. MO 63104
                                                  p: 314-270-2273
                                                  f: 314-884-4333
                                                   I son a Arch I )eieiidcr.coni


                                   I’RTIFICATE OF SERVICE

            The un I ‘rsi           certifies that a true and accurate cops of the foregoing
     was sent LS. M alt            arks. i’ranklin County Prosecuting /\ttorne ‘s Office
     S. Church St., P              n Mo 63084, on this
                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                       I
                                                                                            FILED
                            IN   ((‘(TI COt Ri OF FRAN KlJ% G)t \ I \                        DEC 18 2012
                                     Si All OF MISSOL RI

    State of Missouri.                                                                                       D.C.
                                                  )
    ‘S                                            )         Cause No 12A13-CR02409

   Jeffrey Weinhaus.
           Defendant

                                  )N FOR BILL OF PARTICULARS
             Comes no’s Dc:      y and through his attorney, and moves this court pursuant to the

   provisions   of Rule 23.o     ‘uri Supreme Court Rules for an order directing the Prosecutinp

   Attorney to file a 13111 c    an    which sets forth sufficient facts to athise Defendant of the

   particulars of the ofkm         in order for I)efendant to sufficiently prepare for his defink’.e

   and avoid being placed         ‘purd>

         1. Defcndantisch        ndictment with one count of Felony Possession of a Controlled

            Substance (C’ou:     count of Felony Tampering with a Judicial Officer (Count lb.

            one count of M’      w Possession of up to 35 Grams of Marijuana (Count III;. two

            counts of Atten      wit   on   a   Law Enforcement Officer (Counts IV and VIj,          two



            counts of Arinec      Action (Counts V and VII). and one count of Felony Resisting

            Arrest or Interfe    krrest br a Felony (Count VIIB.

         2. The Indictment       ,ulvise the Defendant of sufficient facts         to   enable him      to

            adequate”., prep     iinse and instead alleges the legal conclusions that l)efendant

           engaged in tl
                      ’
                      1

     3. From the     t.mc        lnent.   ‘)efendant is unable to detennine. ( I I what illegal   att   or



           acts DeIk.au            ha.. comnutted: (2) the locations where         wine   ol tho’e acts

           areallcs1 ..i.        .d: ji and liv., date       on   wh
                                                                  c
                                                                  1 h those acts arc allepcd to bane




                                            Page 1 ol   i
                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                      I
                                                                                     ‘a

          occurrel. 1                          e deficiencies Defendant is unahit to ins.estigdte ox prepare a

          legal a.J x.,_..                    .‘    the a!leged charges.
      4. AstoC’o U                             requests the prosecution to pro’iide the following inlormation

             a.                           iniation of the date and time of occurrence as is pos%ible.

             h. lnc!.                         t,e*. of each incident:

             c      Ia                         ts that resulted in the allegation of Felon> I ampering with a



      5. As to th:       .       .                 ‘unts IV-VIIL, Defendant requests the prosecution to pros ide

         the follow inj              i.



             a. :fl c:.                       ..   ni   ol the actions taken In deliiaain that resulted in the

                   at    ‘zan             ins IV-VIlI.

             b.    \l            ii       e allegations in Counts IV-VIII:

            C.                            i    of each incident

     6. Defense coulbe                    in opportunit> to review discovery and it is impossible to relate

        from the             .
                                          .iis presented speeifical1 what counts are referenced and the

        specific                          .‘onstitute such occurrences.

     7. Defendar                          n to believe that many of the counts should be merged into

        single cr.                        “.ieed said etent occurred at all, and that such matters ma> be

        subject U                             :uarantees pursuant to the FilTh and Fourteenth .mendments

        of thet                                    tion, and Article 1, Section 19 of the Missouxi (‘onstitution

     8. Failurc                           to        set forth with particularit> those allegations and factc which

        the Sta’                                   !:n the l)efendant the right to prepare his defense, challenge

       the ‘e’.                                ‘s. to conduct an appropnat        un estigation of   tIn. witiic’ce



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           expose F:                V                            id    twice in !eopard\. and dert him efeen\ e a                            mike

           counsel a I r                     -               a   teed b\         rtic1e 1, Section I             $c a and IS) ot the \lissouni
           Constitut                             V           1   9, Sixth and Fourteenth Amendments to the I nited States

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                                                                     requests this Court enter its ( >rder directine the                          ate of
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   Mtssouri to file   a                                      V   ,   in connection v ith the iho e eritO led caniNe.




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  Franklin Couni                                                 nevs Office
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                  IN THE CIRCUIT COURT OF FRANKLIN COUNTY
                              STATE OF MISSOURI

      State of Missouri,                         3
                                                 )
       Plaintiff,                                3
                                                 )         Case No. 12AB-CR02409-OI
      vs                                                                 FILED
      Jeffrey R. Weinhaus,                       3                          MAR 18 2013
       Defendant                                 )                           L
                                                                                          JO

             DEFENDANT’S MOTION TO QUASH INDICTMENT


                Comes now the Defendant, Jeffrey R. Weinhaus, acting Pro Sc, and moves this

   Honorable Court to Quash the Indictment in the above captioned cause, and supports this motion

                                          with the following:



                                                     I.

           On November 28th, 2012, the State obtained its eight-count indictment in this cause. Fo

  that indictment, the Defendant has pleaded not guilty.

                                                     II.

   It has been held repeatedly that an Indictment by a grand jury is prima facie evidence of the

  existence of probable cause, unless the same is overcome by a showing in evidence that the

  indictment was obtained by fa)se or fraudulent testimony, or through improper

  means.OS1eppuhn v. Railroad, 199 Mo. App. 571, 204 5, W 579; Van Sickle v, Brown, 68 Mo.

  627. 637; Wilkinson v. McGcç 265 Mo. 574, 586, 178 S. W. 471. Campbell v. Myers, 287 S.W.

  842, 221 Mo App. 858 (Mo. App, 1926)” [emphasis addedj



           Defendant contends that Sgt. Folsom provided false testimony to the grand jury, which
                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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   the grand jury relied upon in their indictment. In support of this contention, the 1)efendant

   submits the following:

          Defendant’s Motion to Quash Exhibit A -The Indictment. Count VIII of the indictment

   states the following;

   COUNT VIII CLASS D FELONY RESiSTING OR INTERFERING WITh

   ARREST FOR A FELONY

   Charge Code Number: 2702099

   ‘The defendant, in violation of Section 575.150, RSMo, committed the class 1) felony of

   resisting an arrest, punishable upon conviction under Sections 558.011 and 560.011. RSMu, in

  that on or about September 11, 2012, in the county of Franklin, State of Missouri, Sgt Folsom

  and Cpl Mertens, law enforcement officers, were making an arrest of for defendant possession of

  a controlled substance and the defendant knew or reasonably should have known that the

  officers were making an arrest, and, 1r the purpose of preventing the officers from effecting

  the arrest, resisted the arrest of defendant by using or threatening the use of violence or physical

  f)rce.” [emphasis addedj



         The indictment identifies the State’s Witnesses as Sgt. II. Folsom, Missouri State

  highway Patrol, Troop I Headquarters., Rolla. MC) 65402, and Kelly Parker. No other

  identifying information for “Kelly Parker” was provided in the indictment. Defendant assumes

  that Kelly Parker is Judge Kelly Parker. Judge Kelly Parker, to the best of l)eferidant’s

  knowledge is not alleged to be a tness to the events of the th of September 2012,

         As Sgt, Folsom was the only witness that could have pros ided tcstimon to support a

 charge of resisting arrest, Defendant asks this Honorable Court to examine the Troopers report

  from the 2th of September 2012. (1)efèndants Motion Exhibit B)



 Item 4 on Page 1 (Exhibit B) of Sgt Folsom’s report states;
                                                                                                        Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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          “At this point with all the units in place at approximatel\ 1246 hours. I contacted

          Weinhaus by cellular telephone to request that he meet Corporal Mertens and 1 at the

          MFA Oil station near his residence under the ruse that e were going to return his

          computer equipment. Weinhaus ansered the cellular telephone and I explained to him

          that Corporal Mertens and I wanted to return his computer equipment to him toda.

          Weinhaus immediately suggested that it would have to be a public place and that he

          did not trust me as he thought this might be a ploy to arrest him. I again assured

          him that, the meeting was to return his computers to him and that I wanted to make

          it as easy as possible for him, I asked him if we could meet him at the MFA Oil station

          near his residence on Route K in Piney Park. Weinhaus agreed, but he informed me that

          he would have several persons with him when he arrived to check things out. I again

          informed him that only Corporal Mertens and I would be there and we did not want to

          cause any kind of incident by bringing other people. Weinhaus agreed to meet us in

          approximately 15 minutes.” f emphasis addedi



         The report made by Sgt. Folsom clearly contradicts his latter testimony before the grand

  jury. Sgt. F’olsom’s report identifies that the 1)efendant suggested that the meeting was to arrest

  him, but was assured by Sgt. Folsom on the L9th of September 2(112 that the meeting was to

  return his computers. Subsequent to that report, Sgt. Folsom testified to the grand jury that the

  l)efendant knew or reasonably should have known that the officers were making an arrest. [‘he

  grand jury testimony of Sgt. Folsom, the only witness to the event who testified before the grand

  jury. has been demonstrated to ha e provided fraudulent testimony to the grand jur,



         Whereas the Defendant has demonstrated that the indictment has been “overcome by a

  showing in evidence that the indictment was obtained by false or fraudulent testimony’ the

  Defendant prays this Honorable (.ourt quash the indictment.
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                            IN THE CIRCUIT COUR [OF TilE COUN1 Y 01 FRANKLIN
MOTION TO QUASH                             STATE OF MISSOURI
    EXHIBIT A
STATE OF MISSOURI,
                        Plaintiff,                 )   Cause No     I 2A13-CR02409
                                                   )   Diviston No. II
         VS                                        )   OCN
                                                       PA File No. 071131707
JEFF ERY R WEINHAUS                                )
White/Male DOB: 10/06/1966                         )
SSN: XXX-XX-XXXX)                                  )                                              !Jy ‘,
2360 IlighwayK                                     )                                         B
Saint Clair, MO 63077                              )                                        FRA  M/ti-,,
                                                       ip1c1MEr                             y ‘ IN C’OJj4.’
                                                                                                           1

                     Delèndant.                    )

The Grand Jurors of the County of Franklin, State of Missouri, charge that:

               COUNT I CLASS C FELONY POSSESSION OF A CONTROUID SUBSTANCE
                                   Charge Code Number: 3245022

The defendant, in violation of Section 195.202, RSMo, committed the class C felony of possession of a controlled
                                                                                                       August 22,
substance, punishable upon conviction under Sections 558.011 and 560.01 1, RSMo, in that on or about
                                                                  possessed Morphine, a controlled substance, knowing
2012, in the County of Franklin, State of Missouri, the defendant
of its presence and nature.

                   COUNT II CLASS C FELONY TAMPERiNG WITH JUDICIAL OFFICER
                                     Charge Code Number: 2921706

 The defendant, in violation of Section 565,084, RSMo, committed the class C felony of tampering with a judicial
officer, punishable upon conviction under Socnons 55.8.01 I and 560.01!, RSMo, in that on or about August 17, 2012,
 in the County of Franklin. State of Missouri, the defendant, with purpose to harass or intimidate Judge Kelly Parker, a
judicial officer, in the performance of the juthcial officer’s official duties, tampered with the judicial officer by
threatening to txy and execute Judge Kelly P’rker for treason.

         COUNT 111 CLASS A MISDEMEANOR POSSESSION OF UP TO 35 GRAMS MARIJUANA
                                 Charge Code Number: 3245762

The defendant. in violation of Section 195.202, RSMo, committed the class A misdemeanor of possession of a
controlled substance, punishable upon 0 00vctien under Sections 558.011 and 560.0 16, RSMo, in that on or about
August 22, 2012 in the   County  of Franklin  St .te of Missouri, the defendant possessed marijuana, a controlled
substance, knowing  of its presence and  nature.

      COUNT IV CLASS A FELONY A                 MPT ASSUALT 1ST DEGREE ON LAW ENFORCEMENT
                                                     OFFICER
                                            Chirge Code Number 1310099

The defendant, in violation of The defendauL i violation of Section 565.081.1, RSMo, committed the class A felony
of assault of a law enforcement officer in thc. first degree punishable upon conviction under Section 558.011. RSMo, in
that on or about September 11,2012, in the (‘cunty of Franklin, State of Missouri, Sgt Folsom wa.c a law enibreement
officer, the defendant knew Sgt. Folsom wa. . law enforcement officer and attempted to kill or to cause serious
physical iujwy to him, by shooting hIm.
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                                 COUNT V CLASS U ARMED CRiMINAL ACTION
                                         Charge Code Number: 3101099

  The defendant, in violation of Section 571.01 RSMo, committed the felony of aimed criminal action, punishable
                                                   .,.



  upon conviction under Section 571 .015,1, RSMo, in that on or about September Il, 2012, in the county f Franklin
  State of Missouri, the defendant committed the felony of attempted assault of a law enforcement officer charged in
  Count VI, all allegations of which are incorporated herein by reference, and the dcfendant committed the foregoing
  felony of attempted assault of a law enforcement officer by. with and through, the knowing use, asststance and aid ota
  deadly weapon.

        COUNT VI CLASS A FEU)NY ATTEMPT ASSUALT 1ST DEGREE ON LAW ENFORCEMENT
                                          OFFICER,
                                 Charge Code Number: 1310099

 The defendant, in violation of The defendant, in violation of Section 565.081.1, RSMo, committed the class A felony
 of assault of a law enforcement officer in the tirst degree punishable upon conviction under Section 558.011, RSMo. in
 that on or about September 11,2012, in the County of Franklin, State of Missouri, Cpl Mertens was a law enforcement
 officer, the defendant knew CpI Meitens was a law enibrcement officer and attempted to kill or to cause serious
 physieai injury to him, by shooting him.

                               COUNT ‘111 CLASS U ARMED CRIMINAL ACTION
                                         Cfarge Code Number: 3101099

 The defendant, in violation of Section 571.015. RSMo, committed the felony of armed criminal action, punishable
 upon conviction under Section 571.015.1, R. 10, in that on or about September 11, 2012, in the county of Franklin.
 State of Missouri, the defendant commirtedt felony of attempted assault of a law enforcement officer charged in
 Count IV, all allegations of which are incoq ed herein by reference, and the defendant committed the fbregoiiig
 felony of attempted assault of a law enforcei    officer by, with and through, the knowing use. assistance and aid of a
 deadly weapon.

     COUNT VIII CLASS D FELONY RESISTING OR INTERFKRING WITH ARRThT FOR A FELONY
                                C rge Code Number: 2702099

The defendant, in violation of Section 575.15 R.SMo, committed the class D felony of resisting an arrest, punishable
                                               ,




upon conviction under Sections 558011 and S0.0I I, RSMo, in that on or about September 11, 2012, in the county of
Franklin, State of Misaouri, Sgt Folsom and     Mertens, law enforcement officers, were making sri arrest of for
defendant possession of a controlled snbstnr nd the defendant knew or reasonably should have known that the
officers were making an arrest, and, for the   .se of preventing the officers from effecting the arrest, resisted the
arrest of defendant by using or threatening ti e of violence or physical force.




A TRUE BILL                             No     ‘JE BILL



Foreman                                                                     s&isiajit) Prosecuting Attorney

As a condition of release for defendant bond s set in the amount of$    2         cQC        C4-SA
                                                                                        Judge
STATE W1TNESSES

SGT H, Fosom. Missouri State 1Iighwv Patrol. Troop I Headquartcrs, Roila,
                                                                          MO 65402
Kelly Parker
                                                                                                                                     Case: 4:17-cv-01941-DDN Doc. #: 27-6 Filed: 12/22/17 Page: 44 of 99 PageID #: 990




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                                                 IN EH& CIRCUIt CUURJ UI- l-KANKLINCOUNIY
                                                             STATE OF MISSOURI

    STATE OF MISSOURI.
                               Plaintiff,                         )    Cause No         I2AE CR02400

               VS                                                 )    Division No     II

    Jeffery R Weinhaus
                              Defendant

                                                         SPECIAL CONDITIONS OF BOND

    The Defendant is hereby ordei-ed to comply v.        Iou following additional special conditions of bond

          1    Laws: Defendant shall not violate any Federal. State or municipal law

    Li 2       Abuse Prohibition: Defendant will rrcit engage in any abusrve or assauttrve behavior


    u 3        D’omestic Violence Education Seminar (DyES): Defendant will enter and succeashily attend the OVES program until
               ordered otherwise by the court. Defendant will authorize the relevant treating professional to disclose to the Court
               infomiation about Defendants attendance & behavior

 jj 4.         No Contact Provisions: Defendant w, I have rio contact with (the vdim) (the victim’s children) (or) (the victim’s family).
               The Defendant will not initiate ix maintain telephone, conespondence, personal or 3i party coritad with (the victim) (the
               victim’s children) (or) (the victims far ‘y) without the prior written approvat of the Court The Defendant will not enter into
               the premisei, travel past or loiter near whiere (the victim) (the victim’s children) (or) (the victim’s family) resides or works
               YOU WILL BE IN VIOLATION OF THIS ORDER EVEN IF YOU ARE INVITED.

      5        Weapons Prohibition: Defendant wit not purchase, possess, receive, or transport any firearms, ammunition, explosive
               device or any other deadly weapon. Au weapons shall be surrendered at                  with j   days.

 6
 u             Parenting Class: Defendant shalt enlcr and successfully attend a parenting class

 u    7       SupervIsed Custody Transfer or VCJZatlon: Defendant shalt utilize a supervised custodial transfer program that is any
              custodial transfer as by Court order s’ II take place at the local (police station) (shenff s department).

o 8.          Alcohol Prohibition: Defendant sfai        )t possess or imbibe any intoxicating beverage. Defendant shalt not be at or near
              a location where alcohol is sold or r.

.
9
u             SCRAM: Defendant shall, within forty ,ght (48) hours of release from custody, or as soon thereafter as possible, report to
              the appropriate authority kr the insta’ -:n of the Secure Continuous Remote Alcohol Monitoring device on Defendant’s
              person. Such device shall remain in p a until the conclusion of the criminal case.

j 10          EMPMonltodng: Defendant shalt,       ‘  the Court orders otherwise, be connected to, pay for and abide by the conditions
              of the EMP device within three (3) da sof being released on bond.

      11      GPS Monitoring:

j 12.         Random Drug Tasting: Defendan               appear for drug screen every seven (7) days at
              to be paid for at Defendant’s csii

tj 13.        ASsociation Prohibition: [kfem1            ‘   not (be seen with) (contact) (live with) the other co-defendant’s from this case


o    14.      Off,er
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          Motion to Quash
                    1
        Exhibit B                  MISSOURI STATE HIGHWAY PATROL
fendant,s
                                      REPORT OF INVESTIGATION


      ATE CONTROL NO: 12 2- 01:6 011                            REPORT DATE: U622j2
      PORTING OFFICER: SIFt T H. 3     POLSOM             O5T   TROOP OF OCCURjN( I
    DCC TYPE: THREATENING A PUDICIAL OFFICER
    COUNTY:            FRANr IN                                 SCENE PROCESSED:     N
    DATE/TIME:         AUGUIt 22, 2012
    OFFENSE STATUS:    XNVt GATION CONTINUING                   IDCC AT SCENE:   N
    LOCATION:          2360 RT K  ST. CLAIR, MO




                            DEt    LLS OF INVESTIGATION

   ARREST OPERATiON OF JEll       FY WEINH.AUS

   1.   In continuing an ir: stiqation into allegations that. Jeffrey
   Jeinhaus threatened Jud iai Officers in Franklin County via the
   Internet on August 1?, 2i2;    On September 11, 2012, an arrest
   operation conducted for 3eitrey Weinhaus in Franklin County.

  2.    On September 11, 201, Corporal Scott E. Mertens and 1 went to the
  Franklin County Prosecut rig Attorney’s Office, wherein I applied for
  and received an arrest w rrant Jeitrey R. Weinhaus, white male, date of
  birth October 06. 1966,     2360 State Route K, St. Clair, Missouri.

 ,The charged on the aries   warrant stemmed from an earlier
     vestigacion, where Cor iaJ Mertens and I contacted Weinhaus at his
     sidence on August 22,  O2, reference threats he made aoainsc a
  Judicial Officer in Cra% rd County, Missouri.

  3.   On September 11, 201     after obtaining the arrest warrant f or
  Weirthaus, I contacted a rarnber of the Franklin County Sheriffs
  Departmnt to see If the local sherifis department wanted to assist us
  in serving the arrest wa; rant.    They decHned to assist citing othe:
  calls for service ‘ere u’ .ding     I then contacted Federal Bu eau of
  Investigation Agents Pat    uP Cunningham and Mike Max-uschak, who agreed
  to meet us in St. Clair    .issouri and assist us in serving the arrest
 warrant on Weinhaus.    it   r ueeting with Special Agent Cunningham and
  Special Agent Maruschak        agreed to attempt to have Weinhaus meet.
  with us at the Missouri     uners Association (MFA) Oil Station on
 Missouri RouLe K betwees         Clair and Piney Park, Missouri, which is
 in close proximity to Wi    haus’ residence.    IL was further decided that
 the meeting with Weinhau; would be prearranged with him under the ruse
 that we were returning a      computer equipment to him chat was seized
 trom his restdence on A     ci 22, 2012.    Additionally I arranged for two
 fully marked ears from        iissourr State HIqhway Patrol’s Troop C to
 participate in the ar:e       ocration   n toe event Weirinaus ti ed to I lee
 arid a vehicular pursuit

 ‘1   Jt this )Oiflt with          the units in place at appr cximatel

#hours, I coritactec i’io,,
    et Corporal Mertess
    der the rase that we
                                    by eel] u: as telephone to request tht he
                                    at the FA Oil station near his i e’idenc
                                    going to return his computer equxpment.
 Weinhaus answered the c          dr telephone and 1 explained to hrm that
 Coruoral Mci t ens aria           -a to return his computer equipment. to Ii
                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                              C1       12 236 008 011

  today.  Weiihaus ammec      v suggested that it would have to be a
  nulltc place and that h     :d not trust me as he thought this might be a
   by Loarreat him.    I     at: assured him that the meeting     s no return
    ,s compiters to him an:   oat I wanted to make it as easy as possible
    or him. ‘I asked him i:      could meet him at the ML’A Oil srat:on ne,.,
  hs residence on Route      ,   Pir.ey Park, Weinhaus agreed   but he
  informed me that he WoUl   have several persons with hrm when he arrived
  to check things out,     I sin informed him that only Corporal Mertens
  and I would be there ani a did not want to cause any kind of incident
  by bringing other neopl      Weinhaus agreed to meet us in approximately
  l’5 minutes.  At this pc:     a safety briefing was conducted with the
  additiona informaLon       n there may be other persons arrviog •wrth
  weinhaus,    While we war     ting a white truck drove into the oil
  station parking lot arid      whrte male occupants exited the vehicle and
  began to work on the gu      a on the front of the store,

  5.  A short time lot or        porox1mareiy ‘1300 hours, I observed a green
  Subaru passenger vLil          owing Lo turn into the uoa’Lh entrance of the
  pazki.ng lot.   I iiuaeda       recognized the driver as Jeftry R.
 frJeizthaus and I also obso     d that he was rapidly removing his seatbelt
 as he entered the parki         lot.     Corporal Mertens and I began to exit
 his’ patrol vehicle is w        tisus accelerated through the parking lot and
 drove in a circular pat          a past our vehicle.    He abruptly stopped his
 vehicle past. our locaci         s 1 exited the passenger side of Corporal
 Mertens” patrol vehicie.            then began to ‘approach the rear oL, Corporal
 Mertens patrol vehicle              I saw Weinhaus had already exited his
 vehicle.   I then notioc         ‘it his vehicle was parked in a mariner which
eve  him tacticar advan
  rking lot.  Weinhaus
                                     and ‘an immediate escape route from the
                                    d at the driver’s door of his vehicle and
 did not approach our vi’          ‘a I continued towards Weinhaus’ location
 and at ‘this point I he4          a attempt engage him in conversation.     I hod
 a manila folder in my r.           Land, whrch I held u,p in toe air, and
 stated to Weinhaus that
 get his computers back
                                 .aO   the papers right here for him to sign to
                                    this point, I saw him look from left to
                                                                                       /
 right as if to look to           who was in the parking lot.      Corporal
 Mert ens and I met near          :ear of Weinhaus’ vehicle as we were both
 simultaneously appruar..          ,einhaus on the driver side of his vehicle.
 I immediately recoyni zec        at Weinhaus was not responding to my
 conversation and he ha1            atied in bit; statconary pOSlt Can along side
 of his vehicle.  I tX:e,,        ‘u Corporal Mertens to go to the trunk of
 his patrol car and c, e               an attempt to continue the ruse and to
 see if Weinhaus woula             owards the rear of his vehicle once the
 trunk was open.  I than            aaued to approach the rear of Weinhaus
 vehicle with the Li.”           r ra my hand, from this vantage poInt.; ‘I
 could see that Weintsr            Etar1diny with his Dody bladed toward my
 location with his r::ht         e out of my view.        was able to set’ both of
 has hands were empty

6.   I then stepped ti             ‘or     of Weinhaus’ vehicle watfl the tale
folder still n my      a                  Weir;haus then turned toward me i’xpoaa oq
nis right hip wnicr                 eon i. S     Army issued type bob sLer
containinq a niack                  -‘ni a’jtot”atic pistol ntacht’d to
 o has rignt .;de.               ;a: Lu di,iw my service. pist c’l Lrr.a my
 ide oiid positioned                 I o ready when i. a ska’i Wi rahaus 10 a I
voice Jeff, wrx3t ar’                  zth toot gun?       Weinhaus replied   ‘What
are you da,;iq with                    ‘1 order ad Weinbaus 1 o qe on    he carourd
and he z-fuae    to c)ij          i Try r eguert      I wcS LOW snrrdcnq
aparox.iinatelc Len t-           r.om him,        I then saw hri: reach has rcLt


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 hand towards his houtc       pistol and began to open the flap ‘n the
 holster and sweep it lrr   t the hoister in a drawing monion.       I
 focused on the front or      of my service pistol and I could see the

e  ont sight clearly and
   e holstered pIstol.   1
                            its see Weinhaus     right Sand now resting on
                             imediately recognized that the back drop area
 behind Weinhaus contains xplosive hazardous materials and several
 persons who were in plain yiew in front of the MFA Oil Station.       I
 began to step left at at   ri]e away from cover in an attempt to gain a
 good sight picture with a clear back drop.      Weinhaus then paused and
 began to shake as if he 1 d a cold chill.      I then ordered Weinhaur- to
get his hand off the gun     Weinhaus refused to comply.     Weinhaus
 stated You are going        ave to shoot me,     as he began to draw the
 pistol with his right b       mm the hoister on his right hip while
 keeping his eyes focuorn      we    1 continued to step left at an angle
 to maintain good night     ur e with a clear back drop      I saw Weinhaus
 right hand continuing tc         the weapon from the holster as hs eyes
 were fixed un me. AL Li i point, I was in immediate fear I or my lrfe
 and the life of Corpora’      tens,   I gained a good sight picture with a
 clear back drop and as r naus was still continuously drawing the
 weapon fi’ozn the holster,    ired two shots to the chest and one shot to
 the head of Weinhaus.

 7.    I began to hear soic     g from the area of the MFA Oil Station.
 began to scan left pant      inhausi location to determine if there were
 any additional threats         Alt. when I heard a loud gunshot,    wha ch I
 thought came from my ilL      .inde towards the area ot Weinhaus,       I then
 scanned right again tow i       ne area where Weinhaus was standing and 1
 saw his body rotating          s hand still on the weapon.       I fired one
    re hhot from my servi        ,tol at Weinbaus simultaneously as I
  tapped left again it 1          )rt to keep the back drop area clear.
Weinhaus immediately icr           the ground and was motionless.     1 saw that.
Corporal Nertens was co’        i my riht rear position and I went towards
Weinhausto secure his w        cii as I   continuously heard screantirig from
the area of the Y4FA Oil       LiOfl.    I then saw that Weinhaus was laying
 flat on his stomach wiLt         weapon and holster positioned beneath him.
The weapon was still in            ght hand and partiaily out of the hoister
by just a few inches.             rot see his finger or arty other hazard
near the trigger guar I               the pistol.  I grabbed the weapon from
the right hand of Weird         ud jammed it into the holster.      I removed
the holster from hit, he.        i tossed the green holster   and weapon
behind me towards Corp            itens location.     I then saw that Special
Agent Maruschak was rap           proaching my location and I yelled for
                                  1
him to cover ire while          cuffed Weinhaus with his hands behind iri
back.     I handcuffed Wein       and he remained there motionless.       I asked
Special Agent Maruschak       Ji 911 for an ambulance when I heard
Corporal Mertens indiort          had already contacted Troop C arid one was
in route.     1 then bearr        K Special Agent Maruschak if anyone else
was injured and he rep            are were rio other persons injured.      At
this poInt, I ass ìst od            I Mertens in rolling Weinhaus onto h:s
right side, nLo a irnr              sition, and Corporal Merueris attempted t
give furthet medical      i       to Wemahaus’ injuries.   I could see that
Weinhaus had sutferci               wound to the head as werJ as several
  Liter wounds no the            isked Corporal Mertens if he had fired
 - s weapon anc. he   nth         ste that he thought he had fired dt east
 ne shot fine nis stnV           J ,t Weinhaus

0   I then c ntactel             jant Cut nil righam ‘let er ni rio t ho ,t t ii
of the others near th             ion.  Spcial Agent C-tnni ngham advised
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                                                    CJl i 2 G8ti

  me that be ws necu            .    dent f ed w tneses at     at seene
 -contacted-     Géorqe Kn           a ni.orn hIm pf•the off 1 ocr invcdved
  -shooting icrdent,:  :            ime later, emerqetncy medical peronnei
          and   hegan.tu            inhaun for bib injuries.    Weinhaus wan
   ransported from the n
.rrved                               ambuanee for further tnedical care

  9.  This Jrwestigaton              conLnu1ng by the Minsour.i SLatc’ Hiqhwav
  Patrdi   Troop. C Croi.           -so1gaLive unit, due to the Troop
  Investia’tive uflatn e            ,nvlved dhdbtircg incident

 H. J. Folson, SergeEo                                   HJF: Dim
 D/DCC, Troop I Unit

 cc GHQ    Troop T F                  Tr.ap I Unit    D/DCC, Froop C Unt
 Franklin County PA        to       Count y Snerift s flepart:mer
                                                      t
                                                      1            Federal
 Bureau at irivestiqt




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QEIE STATUS       iNvE5’r:AT                                  N
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                  SEHGAN1          STATE HWY   PATROL



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                                                                       RespectfuI1       itted,




                                                               Jeffrey R. Weinhaus, I)efendant

                                       CERTWICATE OF SERVICE

          Signature above certi I                      1 was forwarded to Bob Parks, PA,
                                    that the foregoing document
  15 S. Church St., Room 204,’       n MO 63084 on         u
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                 IN THE CIRCUIT COURT OF FRANKLiN                          COUNTF’              L ED
                             STATE OF MISSOURI                                          MA!? 19 3
       State of Missouri,                        )

        Plaintiff,                               )
                                                 )       Case No. 12AB-CR02409-Ol
       vs                                        )
                                                 )
      Jeffrey R. Weinhaus,                       )
                                                 )
        Defendant                                )

            DEFENDANT’S MOTION TO SEVER THE CHARGES


   Comes now the Defendant, Jeffrey R. Weinhaus. acting Pro Sc, and moves this Honorable

   Court to sever the charges levied against him into three separate cases, pursuant to the   coUrt   rule

   and statute controlling joinder, and due to the substantial prejudice Defimdant would suffer if the

   charges remain joined. fhe Defendant suggests, and prays this court to group the cases as

   follows; the first case being the charge of tampering with judicial officer (RSM0 565.084), the

  second case being the two drug charges (RSMo 195.202 and 195.202), and the third being the

  charges of attempted assault, armed criminal action, and resisting arrest (RSMo 565.081,

   571.015. and 575.150.)




  As grounds in support thereof, the 1)efendant states the folloing:



  1. The charges were improperly joined. contrary to Missouri Supreme Court Rule 23.05 and

  RSMo 545.140.0.




  Rule 23.05 states; “All offenses that are of the same or similar character or based on tvo or more

  acts that are part of the same transaction or on to or more acts or transactions that are connected
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   or that constitute parts of a common scheme or plan may be charged in the same indictment or

   information in separate counts.” and RSMo, Section 545140.2 states; “Notwithstanding

   Missouri vupreme court rule ‘4. O’. two or   more   u/lenses may he cnareed in the same indicmcnt

   or in/ormation in a separate count/or each otThnse if the ot/enses charged whether telonic.s or

   misdemeanors or infractions, or am combination thereof.’ are o/the ratne or similar character

   or are based on the same act or transaction or on two or more acts or (runsuctions connected

   together or constituting parts of a common sche,nc or plan      l’he Missouri Court of Appeals for

   the Southern District in State v Smith, (Mo. App. 2() 12) stated;




          t has its ordinary meaning and includes ‘united.
          ‘Connected                                                       .   .   by dependence or relation,

          or by order in a series’ and joined or linked together tin] a series, having the parts or

          elements logically related[.j’ State v. McKinney, 314 S.W.3d at 341-42 (citing dictionary

          definitions); see also State v. McDonald, 321 S.W.3d 313, 318-19 (Mo.App. 2010)

          (“connected” includes “things that are joined or linked together in a series or that have

          logically related parts or elements”). “A common scheme or plan” requires that the

          offenses “be the product of a single or continuing motive.   ‘   State v. Morant, 758 S.W.2d

          110, 114 (Mo.App. 1988).




   In State v McKinney (Mo. App. 2009) the Court reminded us “[W}e explained the interplay

  between evidentiary considerations and the joinder rule in State v. Buford, 82 SW.2d 298 (Mo App.

  Wi). 1979)


          ‘lu be properly joined, the offenses must be part of the same transaction or part of a

         common scheme or plan, because to join offenses otherwise would expose the defendant

         to prejudice by allowing proof of the commission of unrelated crimes. l’hus. to avoid the

         emasculation of the evidentiar rule, the joinder rule must be construed so thu/joinder i
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                                                                                     be
           permitted only when proof or evidence of the commission of one crime must

            necessary to the proof of the commission of the other crime.’ lemphasis added)



                                                                                    transaction. lhev
    The charges, arc not all the same or similar, nor are they all part of the same

    are not all connected transactions, nor are they all part of a common scheme or
                                                                                    plan. The joining

                                                                                             Defendant
    of these eases is repugnant to both the statutory provision and court rule, As such, the
                                                                                              the
    prays this court take judicial notice of the statutory provision and court rule and sever

    charges.




    2. Pursuant to Missouri Supreme Court Rule 24.07. the l)efendant moves this court to sever
                                                                                               the

    charges into separate cases. Even if this court considers that the cases were properly joined

    (thereby denying the first part of this motion), if tried together, the T)efendant would suffer

    substantial prejudice as a result. RSMo 545,885.2 states that “substantial prejudice shall mean
                                                                                                real and
     “a bias or discrimination against the defrndanr or the state which is actually existing or

    not one which is merely imaginary, illusionary or nominal”. ‘l’he Defendant asserts that joining

    the charges of attempted assault on a law enforcement officer (RSM0 565.08 1), and armed

    criminal action (RSMo 571.015) (which are alleged to have taken place on 9/112012 at one

     location) with the Tampering with judicial officer (RSMo 565.084) (which allegedly took place

     on 8/16/2012 at a separate, and an unrelated location) would create a substantial prejudice. in
                                                                                                      own
     particular, a failure to sever these cases would limit the defendant’s ability to testify in his

     defense on some charges, vhile reserving his right to not testif\ in others. In addition, the jury

    would surely be unduly influenced by being exposed to separate, arid completely unrelated.

     charges. Further, as this court should recognize. and in the current political climate, the
                                                                                             the
     introduction of the alleged use of a firearm by the defendant is hound to severel afict
                                                                                               of
     mindset ofjury members improperly influencing them to convict out of fear, and its effect

     movine the bar as to what constitutes “reasonable doubt’
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    The Defendant understands that some courts ould assert a requirement, that in order to

    particularize how the Defendant would be substantially prejudiced, that he should identiri what

    testimony ould prejudice him, and how that would influence effect the other charges. lhe

    Defendant finds that to he a bar set too high to reach without the court also violating the

    Defendants Fifth Amendment right to not ‘be compelled in any criminal case to be a vitness

   against himself’.




           WHEREFORE, Defendant moves this court to sever the charges in accordance with the

   above prayed grouping, or as the court would find to be in accordance with State Law and Court

   Rule. so as to not prejudice the Defendant.

                                                                        espectlihi tted,
                                                                        1




                                                                       Jeffrey R. Weinhaus, I)efendant

                                         CERTIFICATE OF SERVICE

           Signature above certifies that the foregoing doct
                                                        ment was forwarded to Bob Parks. PA,
                                                        1
   15 S. Church St., Room 204, Union MO 63084 on             L3_
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    STAlE OF \I1SSOI RI

    v,                                                               (‘ase \o    2 \13-(’R     4O)-a   I

    JEFFR1YR. \\l 1sH.’d            .




               1)eldridani                                   )

                 1:F’ED\T’S N1O’[JOI IN                     1M1E / MOTION [0 EXClUDE

           Con iu i)efedanr Jeffre R. \\ einhaus. h counsel I lugh. \. Lastvood. and slates as

    Defendant’s Motioi in           inane Motion to Lxclude:

           Any ineiiioi of the idllo big items heidre the jur              ould (a> deny Plaintiff a lair trial.

    (b) be inadmissible or am purposes. and           (C) cause   iniproper prejudice. wherefare Defendant

    moves the court to piohibit the State lrorn either mentioning or referring to the loIloing items in

    voir dire, opening siatenienl examination of ‘ tflesses, presentation o c idenee. or closing

    argument. or at am other time in the presence ol’ the jury:

     1.     The particulars of’ Defendant’s I3ulletinman statements and publications, other than the

            Youtuhe iJeo ol August 17. 20121. and subsequent                outubc ideos iewed by Sgt. IIJ

            I’olsoni prioi to l)eldndant’s arrest on September 1 I 2() 12. DJdndant’s speech is

            generaHy aid perhaps commonly kno n generally to he controversiai in nature, anti—

            go erameni      it;   ‘oThjeet matter. and h perholie in tone. hut the particulars of othei

            stawmeitI ..uuid be prejudicial to the DeRindant and hia\ e little to no prohati\ e
                                                                                                alue.

            Ih    Utci ti   >1 (Or gross prejudice looms    as   the jury could eon jet the Detdndant based on

                                                                                              has
      There are o deos f Aunust 1 7 one ith captions. the other ithout, l)eidndant
                                                                       ssitliotit captions. sineL Judge
     aireath mmcd to cisnuss the tampering charge based oi th ideo
     Parker’s name i not mentioned in the speech. and thus the State cannot bring a prosecution
     based on an aliec orea to Judge l>arker
                                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                       (bew

                                                                                           .
          a general dis dc ot the content and tone of his contro’ erlial and extreme speech (Ibis

          Grante1           3/ ib erruled            -




          Defendant’s target shooting at his home .1 he State plans to call a uutness, Defend
                                                                                              ant’s
     2

          neighkn Jan s Iloflinan. to testtl5 a’ to l)efendant and his ex-%ife alleged practice of

          targcz ili0t1      ‘?      in their propert> prior to the September 11. 201 3 shooting of l)efendant

          b I liphv a Patrol trooper Sgt. l’olsom. (iii en that the I Iighviay Patrol admitt
                                                                                             ed that

          Detenuant e line to the gas station on September 11 tin the ruse that his computers went

          being returned to 1)ctèndant. such eidenee is prejudicial to Defendant. stiggesis a bad
                                                                                                   .
          intent. pmpensit> intl or state of mind. all with no substantise corroborating tt idence
                                                                                                  34
          and thus its ineiudieial effect outweighs its small ptobative salue. State v. Barriner,

                      Mu.banc, 2000) jeiting State it Bernard, 849 S.W.2d 10. 13 (Mo bane
          S3% .3d 139 1

          19’)   i   es ‘aence of prior uncharged misconduct is inadmissible for the purpose of
                                                                                                   an
          shoss zag the propensit, of the defendant to commit such crimes.”). I bus James I Iofl’m

                    .re1ud or at least precluded from testif> ing as to the target shooting
          should be 5
                    ,

           Granted                       o4erruled

     3.   Judge Kelt2 Parker’s reaction to the shooting. Judge Parker’s reaction to Defendant’s
                                                                                           and the
          speech is in:le ant and subjeeti e under an ubjectis e lint Amendment anal> sit.

          case lass br:eled in 1)efendant’s motion to dismi.s the tampering with udieial officer

           charge 1 acu           in   deket in the institution of the prosecution.’ It also is likely to be gisen

           too mud           ii.   lit and impoitance by a jufl. and thus its prejudicial elfect tar outweighs its

           piobatr i.   •    iii..


                                         Oserruled        1/
            5k r’                                        spcfc4i.




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                                 ‘V




          4   Uniformed lass enforcement officers (with       or   without weapons) as spectators in the

              1
              courtm
              .      nn I )elWidant anticipates that the State wifl seek to paint him as an attempted

                          xording)). the itt rna..se presence of umiormed law enforcement officer’..
              cop kilici. 1

                       .ut ‘scupons. as spectators in the courtroom is inherently prejudicial because
              with i”r sith
                       1

              it ma create .in outside influence on the jun. affecting the presumption of innocence

              necessary for a fair trial and impacting the harshness of the sentence imposed State V.

              Jolunon, St “2448 iJul. 16. 2013 i tl3reckenridge. 1•, dissent at 0-121 wuing Hard r.

              State, I0 5’ Id 3 il Ia. 1)ist. Ct. %pp. 2012): Skootes         it   State, 20 So. 3d 434 (Ha that.

              Ct. App. 2009) (see also Id., fn. 4.). If the officers appear at trial in uniform, and

              particularly ssith sscapons. then the jurors ‘sill then conclude that the officers are more

              tnist’sonhy than Defendant. Law enlbrcement officers should thereibre be prohibited

              from appeanng in court either in uniform or with weapons. Further. an) law enforcement

              witnessc endorsed b’ the State should be excluded from the courtroom until th* arc

              called br testimony.

              Granted              (herruled        -




     5.       Am   pno    c.riniinal eons talons. I)efendant has certain misdemeanor cons ictions. 2003

              for harassment; 2006 11w trespassing: and a 2007 Suspended Fxecution of Sentence (SES)

              for assaulting a police officer. .1 hat es idence is more prejudicial than probative of

              I)clcndant intent here. if used improperly See           ci fli ral&   State v. ?selcon. 178 S   .Id

              638 .Mv’.    i’P). State it   Jlebn, 892 S.W 2d 743. 74 (Mo pp 11) 1994i rir.aI courts

              should “c .%a:: ‘fesidence of other cninc% due it’ die highly prejudicial charatter of such

              eiiicnce “a. State   it   Dunn. 9’S 53% .2d 759 61 (\to. bane 1998) r’.howing the

              de’endant s propensity to commit a gnen crime is not a pioper purpose for admitting

                                                          I




                                                                                                                     S
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          evidence, because such esidence mas encourace the jur’ to cotnict the delendant

           bec,u’’ a a         prmeiist’ to commit such crimes      inout regard to e hether   bets   actuai!

          guilt\       the e ime chargcd.’’t:

           Granted                 Oerruled

    6.     \‘oir dire pronihition.. \t the oir dire stage, the State cannot discuss the Detendant’s

           prior ut Ltnses, or his potential punishiflent II cons icted.

           (jrantci     i/         Us erruled

    7.     k ndiseloscd         dence or sitnesscs. I he State cannot bring any esidence or itnesses

           that hine not been disclosed to Defendant. The (‘ourt may revisit this issue onls if the

           State seeks to bring evidence in rebuttal to Defendant’s case.

           Granted       j_/       o erruled

    8.     Other civil aLtions ins ols ing Defendant. Any and all other civil actions ins ols ing

           DeDidai ,4re irrejevant. particularly the details ci his tso divorces, as sell as an

           ongoing      rcclcsure proceeding, arid additionally their probative alue on    issLieS    in

           dispute is zero and their prejudicial effect ‘ould be immense. l)cfendant concedes that

           he and ih N ate may note that he is dis creed.

           Granted       nied

    9.     Defendant resers es the right to mox e further in lirnine based on the State’s proposed

           CViucnce a.


           V Ill RI I (R1 I )clendant grass this Court S ‘S I \IN his motion in Imne motion to

    ecIude. and ha     so.     utile re cf as ma be just. meet and reasonable

    Respecttui\ Nuh:j:neLL
    Attorney   r )el     dani


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     Hugh A. F asxo&)d, \1 1
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     St. Louis, NIisotri u3 1 O5 I )4 I
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     So Ordered.



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                   \1uirIand. (cuit Judge

     Date

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     The undersned eertifle that on
     Robert F. Parks II
                                                / o32() 13 )he ser ed this document on:

     Franklin (ount Pt osecuting \tterne
     15 S. Church St.. Room 21)4


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            (owes         • Defendant id            c::ihaus. h\ cc ci Huch                    twood. and under

    (a) the SixOn an       urte nth \mcc          to   ne    nited St tes Constii         1jh) Article I,    §   18(a)

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    Si Ui 01 MISSOURI.                                   a

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    Ill FRI\ R 3tI\I4,t S.

                 lkfendanL                               I


                       DEFENDANT’S SECOND MOTION TO SEVER OFFENSES

            (omes noss Defendant Seth> R. Wemhaus. In counsel I Lush A. FaMwood.                        t.J gates as


    ins second in U n     U c’s’er   offenses:

                                                  Intruductibn

            improper joinder, and Ihilure to sever charges. ins olw a tsso-s ep anal sis. State s’. Lore,

    293 S.%S.. d 471,475 (Mo.App. 1LD.2009). First, the court determines whether jGinder of the

    charges is proper as a mater of law. It lfjc inder is not proper. then r rejtidice is p1             ..niet.   and

    severance of iw charges is mandator). Id.       .1. in   the nth:r hand. :oh .‘:r is pic;j”er       % .:rae.ce   n

    ssithin :1w thai   :ouits   discretion   It

    I.      ibree distinct, unrelated events fail nexus requirement for Rule 23.05 joinder

            1)etendant has been charged ‘with serious felon) offenses occurring weeks apart, without

    an          iiaractedstie. tactics. tmiisatt as. coIiI)ectedness.
         common 1                                                             or a’ ,.aa’Il :n.U..c


    neXus as .equseJ     ii>   the sarious prongs ot RJc b’- l t.ac       ni)UIJ      .uh-ta..a.i       .:.   ,a’a;

    to Deler.dant c due proee’s right to a lair trial to submit all the charie to a sin       Ic   jun :n a sini.le

    proceeding

            Partiewarly:




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                 1)elendant is charged with I ampering V nh Judical Officer, I ‘I my C’ R\1o 6s084,

                 i ii   a \uuut 16. 2012 Youtuhe ideo aosted g the wend w ale wen mom I ide a ann’s

                 oiiputer             I he “August 16        ‘   outube charge”)

    2            1 )elcndant      S   charged with each ot (Ii Pm sessi or Of ( atm R I Nuhsin, c I

                 (ii    mi, On I ess 01’ Marijuana                I don C’ RS\Io: 95.202                       . ar a               2j Possessh       i       Of         P 10

                 3a (irams Marijuana           {   Misdemeanor \ RSMo, 195.202                        }   based ona sub e lucre search

                  I Delen lant’ s home on August 1                  7,   2 >12, 1 hat search wart am xmas issued on                                           ifust I      .




                 20       (Oh because trooper Sgt. 101mm of the Missouri II igrmm                                               Patrol elm a                  I a


                 smelled marijuana on 1)cOndant’s hi, ath and ecu rails in tI c                                             i   tiiac at his              .   at porch.

                 Sm 1’s I (Police Report) (The “August 17 dma charges”)

                 1)elendant is charged with 5 felony counts related to his September 11, 2012 arrest at a

             ga station. (1) Assault/Attempt Assault                           -   1,1 0. ( err 01 l1ani.           tics             Prsrirnl, I 1w                 0.

                   tnins        rkr.( ble Vvrkr Or P&P Ofkr                -   1st 1)egr        Felons \ I          .   1o: 6hS I

             Armed (‘riminal Action                 {   Felons            las died RS \‘Io: 571 (1                                  (3) \ssajli               tamp!

             Assault            110, (‘orr Off Emrgncy Prsnnl, Fiwy Vvkr, Ltility \k rkr,Chle Wrkr Ut P&P

             ()tlr          1St I)egr    {   felony A RSMo’              65 081       }. (4) Armed        Criminal Action                       {    I’ ‘loas

             Laclassi fed RSMo: 571.015                      }, and (5) Resisting              1nter0rin \              i       t   Arrest I    or            I’clorm

             I dons 1) RSM0: 575.150                    }.   (‘The “aptemhei 11th arrest-raP                                I charges’>

             a              Dis ussion

                 Ic a den        proper where the charged m tenses                    are of    the same or s milan Lhrac                                      arc

    )ased   or          xo )r   tame   connected acts or tran             ctions,     or   are part   of a eurrinion scheme                               r    plan

    RSMo. a45 140 2 Rule 2305’ Love, 293 S                                     d ‘u        a   Rule       3!    .           aes       ‘   mat

    where tIne         manner in      which the crimes were ama rued.
                                                                                                                                                                 Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                           are ot the same or similar character or based on to or more acts :h t ‘na part
                           the  same transaction or on tss 0 01 more acts or tI ansa i io,,s that at e i ‘t a                                           a
                           that a )nstitute parts of a corm u           r plan ma          cai gad    tl ama
                           in lietment or information iii cpai rt a )uflts

    In the n a as           I    a   I   Lidl   economy, \lrssoum       turN 1a or 1 ihera. jonat a of oifenses, Statm’ r.

    Dizer, 1 1’ S\ 3d 1 6. 161 (MoApp. 1D.2OO3). In applying the rule and the statute’s

    requirement of “connectedness, courts use the ordinars dictionar\ definition. State     ,                                           i


    Bechho!d, ÔS S \\ 3d 591, 594-95 (Mo. App                            Phd). I hat is. “cona                    Ldness re an                    it


    that are joned or Ii med together in a series                       dlii ha       a ioiealls re at               parts or elentarts, Slafr

    a. McDonald, 3. 1 SW,3d 3 3,318 (\1o.\p 5.1) ‘t)IO).

                Joinder is improper here. I here is nothing as to the character, connectedness, or common

    scheme or plan as to each of’ the three ahoe                      fact   patterns to link the             ‘   nmtuhe. drug. and arrest-

    related charges. I he Youtuhe charges are based oil p litically extrc”iit                                       ublie statan,e,         I   Ps     the

    l)etndant in           puhi i         forum on the internet         to alleged official and                   a cial eorrtptlo              I he

    drug charges are hasc on a s isit and subsequent search ssarraril ser ed b Missouri I hghsay

    Patrol troopers to the l)efendants home. ‘I he arrest—related charges are based on tIre shooting of

    Defendant incident to his arrest nearly a month later s here, by the trot pars’ ossmi adni                                              simm.      thes

    lured   Defendant           to a gas station on the pretext that the, acre return:n                             is comput’r egmapnent

    to him.

                I here are no “similar circumstances” ere: there is no “same transaction here:                                              nor   are

    there t\s         r more     ‘   a ts   or transactions   that   are connected or           that   constitate      part of a m          mrnor


    scheme or plan I s I )efendarrt (1 hat thes n                        [c ar          t       eomm                ‘stigat 111


    troopers      rreles art             I heretore,   each prone ad.        for   1< i s       .t3 jOl   1        0 surs is   L   pa   I cu arts            i


    ight of     t t   pm   Lidh c to        Defendant. It ss oula      e substantially prcjuaic a to the I )etend tnt k

    have thrcc separate discrete, unrelated incidents suhnntted to one furs ni one proceeding
                                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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             Due pr )ceSs f lass requires that the defendant s riuht to a fair inal must he gisen priorits

    user   constietations   ofexpense, efliciencs ond cunsenience. State n Thwne, 941 S)s\ 2d 56

      58 (Mo \pp I 1)., 1997). I he State’s interest in the      eons enienee       I callinry proseer non


    ssitncsses, for example, is not a legitimate factor in his or of joinder.


             (us en that there are eight of lenses. occurring ser hrec days eparated in time hs nearls

    a month. a      is ci the complexity ot the es idence      ranging from Delendant’s \u3ust 16 publiL

    political .q- cech, to his August 1 7 alleged possession of drugs, to the September 11 shooting of

    Defendant h\ the troopers at a gas station a month later        a jury conk not reasonahls distinursh

    the esddcnce and apply the law to each separate offense State        is lii,mon,    834 S,\\ .2d 824, 827

    (Me.App. DI) 1 992). 1 his is particularly true hccaus the iame troopers sscre ins ols ed in each

    incident, hut the underlying ihcts are unrelated and distinct. Further, the offenses ins olse

    dissimilar   ictims. dissimilar tactics, and dissimilar locations (as to the August and September

    incidents), and sscrc not proximate in time, Ihat too, counsels this Court to ses’er the offenses,

    State v, French, 308 SW 3d 266, 271 (Mo. App., 2010).

            ‘l’he State has pres iously suggested that McI)onald, 321 S2s\ lu at 318 is apposite
                                                                                ,




    because of ifs facts. It is not. In McDonald, the charges ssere linked h the Defendant’s four-

    day crime spree in which he stole credit cards, a san, and then assaulted the arresting officer ssho

    was attempting to apprehend him. I’hose facts are readils distinguishable from the ficts ahos                   .




            I ehindant made a ‘m outuhe s ideo on \ ignst 6 cud broadens               I hat scas sc am      ilL   It n

    the posssston of ma ij uana and a morphine a let for s hich a search \s arrant ssas issued after

    Sgt I’olsom smelled the pot on August 17 And both Lsents sserc ry separate and did not

    directly connect an time to Defendant’s arrest on September II under ii e ruse of a etna nirru his

    compute s Sirnpl put. there ssas no crime sy     tee,   not logacal cornice i.a    hetsseea   the   or    aes
                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                       I.




     Ihe faet ‘ter. are also distinguishable from tat’ ases cited l, McDonald. e g Morrow, 968

     S. 2d at bC, (murder. robbery, stealing a ear, and stealing a purse all sufficiently connected          1w

    joinder it .‘slchols, 200 S.Sk .3d at 119-20 (cortinuous chain of acth ir burglaries leadin2 Li sale

    of contraband and .lrugs. directly leading to I )eln&it\ amsu: lkehhald, aS S                    .:t 59. 95

    iattempung to manufacture met and tamperi:g t ith niot’r ehieIe Inked since ear ir mcpone

    the item.. :o th, nwtt. cooking site)

    II.       In the afternathe. if joinder is proper, the Court can and should sever fur a            raw trial
              and the avoidance of substantial prejudice under Rule 24.07

              In the alternatibe, if the Court fmdsj’inder to be proper, the C nirt is in its dis,retion can

    fmd that the public notoriety of Defendant s political spceth and pubic statements demands that

    l)efendant car. only be aflbrded a fair trial   ant   a oid substantial prejudice if the three sets of

    charges are se ered. or at least the August antI Septemoer charges are secred. The se’ erance ‘if

    criminal offenses is governed by RSMo. 545.885 and Rule 24.07.

              1 he threat of substantial prejudice i’. real. l)elcndant faces being put on trial .ni all eiizht

                                                                      oadcast in the \outub
    charges preju.awo by the shadow of his extieme political ‘Jews as b
                                                                      1

    ideo. which otac or many jurors may find repugnant or reprehensible I urther. Delendant

    intends to introduce evidence at trial of his other Voutube and paper Bulletinman” publications

    to further place his Youtube tape of August 16 in context of his other public statements and lack

    of violent histurs: 1)elëndanfs pnor speech :s almr.’ . :rcial in natr: .and contain staten:Ci.t

    against   ptt’   cow iption and immoralits by trsJul)s rang nit front Jess Li ass enforcement K

      i)etcndant s \lotion to l)ismiss the charge )f I amering with Judicial Officer based on Defe                I
    in the Initutiot of the Prosecution” will briet the issue of how Defendant’s do not constitute a
    true threat under the Fight C ircuit factors set ‘iirth m Lnited States 3. Dinwlddle, ‘61 ,d 913
    (8th (‘ir 1096) Further. First Amend speed on matters of public corruption is to be esalu sled
    for its public concern. which includes the factors of content. fonn .aid ontext. Dun t.
    Bradsireet, tnt r. Greennuns Builders, lnt. l”2 L S. 49. 761.
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    more

            WI lb Rl’i (WI Defendant Jeffre R. \k enhaus moes this Court to SCSI Al\ his second

    motion to sescr oftenses, and for such other relief as mas he just, meet uid reasonable.

    Respectiully submitted.
     \ttorne tar I )eteadai’t



    hugh A I ast od. MBI 9 62058
    7777 Bonhonune Avenue, Suite 1603
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    heastwood a3eastvood1awstl.com
    lax    i3l4)’274473
     Eel.  (314) 727 3533
    Cell     l4) 09 343
                                       CUR FIFIC\ II 01 SURVICU
    ‘Ihe undersigned certifies that on July 23,2013 (s)he sercd this document on:
    Robert U. Parks, [I
    Franklin ( ount Prosecuting Attorney
    15 S. Church St., Room 204
    Union, Mo 63084


    I he meihod     ers ice: by hand.
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    JEIERIY R. ‘AIYsII’\i S

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    his amended seco d motion to s

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             Improper           under. ,d fin                 Ci     iges. jnvol e        i                         Stow      .     I.ove,

    293 S.\ 3d 471, 415 (Mo.\pp. I                        i    ii         the court deterniii           iner joinder of’ the

    charges is proper ‘is a matter of I                       ci         ‘r is not proper, tirer         ice is presumed and

    severance of the chartzes is niand                    ii         n the other hand, jeir              proper, ‘severance is

    ithin the irini cour                 discretion

    I.      Three disaict, unt Jatet                                 \   us requirement                   3.05 jowder

             L)eteniat          as been :lar                         clm1\ ci lenseS          1.         ‘eeLs 11me.           ithout

    am   Coil IlitiP fldT       t.   eriiu mcii                            rvieeted;ie*.      Oi              ehenit.   in   plan

    nexus a’ tequired                 the various                               It sas oul I              antial lv prcj udicial

    to Defendant s di                r     ‘ss right      I i            uhrnit all the char              ‘igle jury in a single

    proceeding.
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            lkfnar                        ..aagt:wt                     ‘‘      1 Oflice I
                                                                              h JJicia                     ‘RSMo: 5ü5.084.

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                    6.2012’vo
                    1                                                        at to the isorid suit         inn Defendant’s

            c.n:puter.                   ‘l;e       A$tUL


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            (iram.Oi                     %(fl!%lafl             —   .        •‘LSMo: 1 “5.21)2 :.          •ossessior Oft p To

                5 (yr rii’ lanjuant.                      :N                 Mj: 195.202             ha’   uhscquent search

                .fDefcnw it’s home on                               ‘I            I nat search usarrar     sued on August 22,

            :01) only ‘cause t:oope                                 a         die Missouri I lighu’         I claimed he

            smelled n ri,uana on Dc                                 ta. and ocnera1I            in   the   S   of his front porch.

            .‘LL’   R.       ‘           ula.       Ripur                    2   Jr     ehaargeC)

    3.      LicrnJaw                     cnargcd is its                          rfltitd to his Septe.     ..2012 conduct as

            .‘I licers a ‘inptt’d k set                             ..i      iii at a gas station’:        :ait7Aftempt Assault

            -   lisO. Vt             i   Oltlüiirgucs                              3 Wrkr.( ul
                                                                             hr. L hIlt                    OrP&PC,tTcr- 1st

            lkgr Fe ny A RSMo.
                     ‘                                              2)

            \rr. at ( r              i   trial Ac     ion           ,,:       lied RSMo: SiLO              \ssauhiAttcmpt

           .‘issault         -   .   rU. (‘ow Off)                  •         liws Wkr. Utilit V           c Wrkr Or P&P

           Oiler     -   Is. :kjr lvlon                                      h :J4)AnnedC’:                ction     felony

           I nc.ass:1                t RSMo. 571.                            “isting Intertëriria’         est l’or.\ Felony

           hi•      it   I) s’sto:                   ‘b   )5’                nbr 11th arrest-rd.           gei’i

           1’.           I               i   ion


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    D  efent:..,                     i    r 1c1u i                                    alt i ‘i length         ‘ion at St. John’s
    Mercy 1 lospil d         iii     St. I nuis (‘out                            in   hooting 540111k!      .iy Miscouri Stale
    Ilighisa. P’.t:a                 o, :‘
                                                                                                                                 Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                o     nder   jS   ore per      here th       e.    es are of the same o                a character, are

     based on       tv o or i     ore comiected a                  us,     or are part ol a e         a scheme or phm.

     RSMo, 54S1403: Rule 2105; L                                  I at 475       Rule 23tu            tOrt joinder is proper

     where the manne              in   vhich the en               ttitted:

                             ft  ol the same or              a     or based on two or                  cis that are part of
                             th same transactio                   nore acts or transact                it are connected or

                             tO d constitute parts                eherne or plan nua\                  cd in the same
                                                                                                       4
                             im tetment or infor                   te counts.

     In the interest       of     udi dal eeonom                  Is favor liberal      joid                       state   ri



    Dizer. 11   (,)   S.          11 6 1 6 1 (Mo.                       In applying the ru            he statute’s

    requirement        of” onnectedness,” e                        Iinar, dictionar d.                in. State v.

    Bechhold, a,-’ S.             3d 501, 594-9                         ). I hat us, “eonnc                  equires things

     that arc owed ol              nked together         i              has e logically relth              or elements. Stale

     v. McDoi aId, 3.              S         d 3 13, 3             .2010).

              Joinder i ittiproper here.                            as to the character, eo. a        etedncss.    or common

    scheme or plan a to each ot the ii                            atterns to link the                   drug.    and   arrest


    related charges               ac   i    uwbe chu               .1    politically extreuui                totemeuuts b the

    Defendant in a           i.   uhie orum on the                alleged o iiieial and                corruption. 1 he

    drug charges are asud on a ‘ isit a                           search warrant ser e            .lissuuri I lughas

    Patrol troopers w the i)efendants                             asi-related charges a;.         1     on     the shooting of

    Deti,tndunt ineid             i to hts   atternpft              month later where.                 ‘eapers’ ori

    adrntssiow ihe.eu I ieie:idant                                      SIC   wise pretexi   U.            ore returning his

    compuiet equipft ‘at to nun.

                here       ore o ‘iruitiar circi                    there is rio “same                 ill    here: nor are

    there t         or uno        “tiuts or transact               inected or that COns           -   wi     ol a common
                                                                                                                                       Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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     scheme r plan                s i)et ‘ndant. (1                       part of a common                   ‘ion hs the

     troopeo irrLlI                         II :icfrc,                        kulc 23.05 oid                     sc, particularly in

     light of Ia. krer             c’ to Defendant                    ibstaritially prejudic                     Defendant to

     have thr’e ear                         S    ide, unre            ubmitted to one jar,                       roceeding.

               l)ue p a                          iss      require      ailts right to a fair                 I   be given priority

     over considerati               01          e\pense, ci               emence. State            i’.       *41 S.V.2d 756,

     758 (Mo. \p I                               17).          Ihe        the annenience               0     rosecution
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     witriessa             or e np.e, is not a Ic                     i las or ofjoinder

                   ;n th ti                 c are eight               flit    oscr three days n                  in lime by nearly

     a month, and gis                   1        omplcxit                     rar.eing from Dc                   August 16 public

     political speech.             111           ugust 17                 a of drugs. to the S                    11 shooting of

    Defendant hs the roop rs at a gas                                 later           ajurv could                nably distinguish

    the evidence and pplv the law to                                  i’ense. State v. Via                   S.W.2d 824. 827

    (Mo.Apg            I   .1)1   2j ‘ibis is part                    duse the           came   troop        involved in each

    incident. hut the                       1’ ing Iicts                  distinct. Further,             I   es involve

    dissimtla s ctir               di s nilar tarn                        k    ‘it   ions (as to th              arid September

    incidents), and                C nOL         proximal             )O,     counsels this (                ‘cr the of hianses.

    State v. Trench,              18 SW 3d 266,                       t)l0)

                   S       S at   its       I    sauslvs                   otiald, 32 1 S        \lv             s apposite

    bccausL    1           t                     i        t    In                    were linked                 endant’s four’

    day ciii                            I            lu       si 1’                  i   ren ssaul               sting officer who

    was atten              a                R    end bin              r        It distinguish                    the facts abose.
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                    !ki:rjas             mai, a’ 05:Jh                      •    ..:         ‘nandbroadcasi               “as separate from

         the pLs%%% or’             •:    14: ‘...Ifla       and u                            shich a search              ‘ :ls   issued aikr

         Sgt Fol rn 5.111.                G        h pt’ton4            3               ii   c%.3nt5Wcreer                     and did not

         direetl) cm n:ct                 mat,       to the dttl.           I       i:       dant on Septem.                  a the ruse of

         returning ins cc’. ttcrs. S.mp1                                             ...:    in:     spree. nor In     I’.icennn      bet’icen

         the crin.cs. I ne:              ci,       hcrc     Ut Jst                   nun the cases cite.             ‘lrl)onuid. e.g..

        Morrc,ss, voS S.. .liat ltW(mw                                      ..      Ju.g a car. and stea                  .isc all stifliciently

        connected ioi           iot      ,Ier ; Nichols,                            9        1 kontinuouscl.                  nay.   burglaries

        leading to sate ci               on        raaud and                        •a       rig to Defendant                 Bechhold, 65

         Si .3d at ‘94-”                 Luaupting              to r        I       • .aid tampering wit             ‘r   ehicle linked

        since car iran.p. at he items to t                                              SI.:).


         1L         Intheal. rnktnc, if join                           .,netoartcanands.                                  ver     for a fair trial

                    and the: oxuariec of sal                           • a lice tinder Rule 24.

                    In the alit rat vt. ii the (.•(                     t            kibepmper,thc(                           its discretion can

        find tha tlicpu’t                     1k Li lids      1)11)                  .1      p.eech and pubi              1”nts demands that

        I)etènch’nt can c ‘vi’: ‘fl’onlcda                              1.          .ii      uhstantial preju’            : three sets of

        charges axe sev... I cr.ileastth.’                                ,tci it r charges arc
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        criinina utfense sen iicdt.                                     ‘           ii       aai.c    24.01.

                    .1 t                 )         U Stc   titial                            Ik41I)t    laces ne          i   mat on all eight

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    of vio1eit htstors          l)efendant’s f                ntro m        ial in naturL         ninin   statenents

    against publiL e        uptiun   and imri                     iLm       ig   from Jc\         L   i1orcunert   to




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    protected pilitic.      spee      in cont            ae make the iurv dis                     l)ef.ndant    C\Cfl


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    motion   to   sc cr     tienses. and tor              k   as iii   t\   he just.   mccl   caso iiahlc.


    Respecttblly sub ned,
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                               IN TIIF C1RC II C( 1 ‘RI FOR FRANKlIN (‘OtN
                                             20th JI DICIAI ClRC IT
                                                                                                         FI LED
                                                l.\l1. 01’ \IISS()LR1                                       AUG —6 2013

     SIAI’F (ii \IISSOI RI                                    )
                                                                                             BYDC
                                                                      Case No. I 2AB-CR023 00-0 I

     JEFFRL R \VLINIIAI. S

                   Defendant.

       DEFENDANi’S MO’l’ION TO I)ISMISS ‘[IlK (‘IIAR(E OF lAMlFRlNC 411’11
     JUDICIAL. OFFICER FOR DFFE(’T 1 TIlE INSTI1’l TIO\ OF’ 111K PROSECL TION

            Comes no l)efendam Jeflrc’ R.            Vi   einhaus, by counsel hugh A. Eastood. and states as

     his Rule 24.04(h) motion to dtsmiss the charge o famperrng With Judicial Otlicer, Felony C

     RSMo. 505 .084. for defect in the mstitutio.i oh the prosecution:

     1.     Judicial ‘larnpering (hare

            Pofendain as charged in the AniLaded Indictment, inter a/ia with ‘I ampering With

            Judicial Officer. Fclon ( RSMo. 63.084.

     2.     I)etCndant hereh mo’es to disniis that charge on the basis that as a matter of law his

            speech is protected b the First Amendment and does not rise to the le\el of a reasonable

            thre:a to ati J udicial 0 icer. and urns          parlicularis as   it   is colorful and unpopular

            politeal speech ne ertheless grantcd constitutional protection                 his speech cannot go to a

            Ju12..

     3.     l)e!caaiit    iiSO   mo Cs to dismiss that charge because the            statements   \\erc conditional and

             niiuire    ..au   hu’ as   n,Jtier of iu’, do not rise   to   a true nra:

     II.    Facts

     4.     Pie atus rc alleged is a        ‘   cutubL sideo published to the \orld sside sseh on August

              7.   2U12. featuring Deidridant arid entitled BuIletinman Broadcast 8—I 6—1 2 The Parts
                                                                                                                            Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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              Ox cr \k ith \otcs. ucailab/c of

              http. ax         .xoutubc.cm xsatch7x j1 1v0J) Itik\8&b’,t I ‘I ze( liOhrncus( X

              \t\jfu&Index 7.

        5.    ( I here is .iIS     Li   secoaJ   \   Ldeu    ibit UoeS   not feature captions. It appears li’om discoverx

              that both xer’c rex iex\ed hx the State and both were reviewed hx the arresting troopers

              xx hoa. proha ‘Ic cause statements tormed the basis of Dehendant’s arrest warrant. Since

              the second x deo, lacking captions. does not mention Judge Keils Parker, any prosecution

              based on the second x ideo tails as a matter of law since there is no cx idence to support a

              lindiiig ol probable         CjUSC,      lOt alone guilt.)

    6.        1 he   xx   nhteil caption on the ‘ioutuhe page is:

                           Explicit hut oh so true. Bulletinman has had enough of the InsaniI Constitution    .




                           day is September 17th and September 14th will he tile last day of the Defaeto
                           Court. \‘ou all is tired and xxiii be considered trespassers after that time. i’he
                           poxxer belongs to he people and we got an easy 70% that say you got to go. We
                           the People ioxx rcaliie just what a fraud the Court is not onE upon itself but the
                           (oust ituton. the People and GOD Almighty. No x ietim no crime. No justice no
                           peace. Knuxx Jl’.St S knoo. peace. Where the Spirit of the LORD is there is
                           liherix.

    7.       Det’cij:ot begins the             idco with statements on xarious matters of public concern such as

             the poor tate of the iaonom and unemployment.

    8        ‘1 he idco threatens tout the People will “fire’’ various Missouri olheials including the

                          ‘o.rl \Jniuus’r ibm,             c’ieChCo Circuit   Judges. la\x\ ers amid policemen through a

                          s 0)0   Rex    aLtil0Ii    Pcti:ioim” on 9-li -‘flt) I   .




    9        At I          I )c’e. aim: Oc:Icr’mii’ rc’treices corrupt oil ends arid “mn right to blast           \ Oil


             motlicri uk is out at [1 crc             it    xx e max e to. I don’t xx ant to come down to that. 1 realix

             don’t:
                                                                                                                 Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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    10.   At 2u4 1w         .tdtCs    tenetalls se h.n: the right to rernoe you use of tbice. ‘Jon. sCre

          POt n”flt it’         e   oLd   and kill   ;tn.   IlL sou Jo other P’)Ple.

    11    I)eiendan. at at 8:33 that ‘I’m being generous in a gising you a month to do it”

          which tb Court can infer to mean the time frame for the abose-described people to

          resign

    12.   A ta: caption appears at 8:4u that cites Mo. Coma. see. tparticularly as to the right of

          the pct.ple       tt   alter and aholisl their Constitution and form ofgtnemmem whenever the>

          mas dccii’       it   necessary    .




    13    I)eleniant then states at 8:50-9:10 that elected officials who resist will be arrested. tried

          by treason by a iury of their peers. and executed for treason and other crimes against the

          Anierican people.

    14.   Ihe tideti is ¶.18 minutes iozig.

    15.   Delendara reterenc ‘s a laundry list ofjudges, prosecutors. law enforcement personnel,

          cout cieris etc., some with particularity and some without

    16.   Nowhere does l)eflndant himself threaten to arrest. try or execute any person.

    17.                ere does l)efendant state the name of Judge Kelly Parker of (‘ranford
          Pwticularly. iionl
                       3

          County.

    18.   Jungi..   i’ai br’s       name appears briefly in a caption at 2:47, some six minutes before

          Ikleidant\ statements aboat ace.q ying the court house and putting officials on trial for

          treaM.i

    10    C )i:wi   ..   :cial’. an. nancJ besiae” Jt.dge Parker in a laundry list, lessening to each of a

          ri. b,nLflbl: p ‘Aer and a reast.nahle listener that Judge Parker is being singled out among

          tht iilcgedly corrupt oltitials.

                                                                   3




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                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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    20     The lorei. oing        featurec a caption stating   “Bill of Rights 6,” presumably the Sixth \mend.,

               S ( on,t

    21    At 920 the Defendant accuses the               S. goernmcnt of killing 55 million babies, shich

          the Coon can infer           k   mean a refetenee to legalized abortion.

    22.   The xideo is part P a recurring series of print publications and broadcasts issued by

          Defendant as a citizen ournalist since 1 996. see. eg. I% 1 43 (I3ulletinman print

          puhlicatb.     H),    authenticated by f I -A (Affidavit ofiuch Kropf). Particularlr,

          Bulletinman ‘ ideos ha c been broadcast on Youtube since 2009, at

          http               .y outu econi user bulletinmaji,

    23.   The oeral1 thrust and dominant theme of Bulletinman publications and broadcasts are

          statements      (oil    expressed humorously and vulgarly) as to matters of public concern,

          particularh that:

          a.         Most Nliss un elected officials including elected judges are corrupt and

                    su   )     erting the ( onsritution, and

          b.         TI e so’s ereign People pursuant to the Constitution have a right to “fire” elected

                    oilicials, to try them fbr treason according to due process by a jury of their peers,

                    or P to execute them if found guilty of treason.

    24,   ‘1 he c   reetness or error of the i3ullet nman statements is irreIeant to this anoN sis.

    25.   The \k ri I Vv ide 4 an s nich anyone may access at anytime ith an internet connection,

          is or a F ispi pm4           i    orurn

    26    DeIek a        has no pro r record ol piooking x iolence pursuant to the Bulletinman

          public    Li   is.


   27     Dele uan ha. no rnnmiiaI histor               tlicr than minor traffic iolations,


                                                               4
                                                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                                           ‘S




    III.   The      Fit ,        %uicndnirn’ prohibits criminal prosecution of Defendant’s speech

    28.    RS\1                   .1i8.. pi..Lht’ speech that would threaten harm tea judicial officer or his

           immeibt               famils. i:cothr .illects .sbilii ofjudicial officer to cam                       out his duties.

    29.    In cont.              a       reasonJiI: person cwinot take Defendanfs speech to be a true threat or

           figh’u.i.                       to     Ji4. Parker

    30.    In the . It mauve. in ‘h totality                            of the circumstances,       I)efendant’s speech is protected by

           the 1    1st      meiidmt.nt

    31.    The Fr. ‘pcech (‘lausc of the First Amendment Congress shall make no law..

           abridgia he                   tk%L11 of speech”                      as   applied to the states through the J:ouneenth

           Amen..Tt at can dcieat as a matter of law charges of tampering or harassment that do not

           constitute a true threat or t. reasonable apprehension of harm. See. e.g.. State s’. Wooden,

           No. St      )_    .4o iJan.             .<.   2013). ihat is particularly true in the context here where

           Dclbndaa is a citizen journalist aid blogger with a long history of li’. ely and sometimes

           offenz.: e .aiucal slatanents against elected officials, but no record ol s iolence.

    32.    (First    in ‘ndment                   anaiysis of political speech of public concern is appropriate also under

           the Irec. s• ‘ech pmoi’                       i ‘it of Mo.    Con4.. art. I, sec. 8. Missouri’s free speech rights track

           those                  lateral onstitution.)

    33.    1 sspcetl
           Dcletiu                                        a   matter of     uF tic concern, as    determined by all the circumstance’

           ol h        t     .       IsIpe:ci.            )n      r atwn   of public concein’         s ‘at the neart of the I   irst


                           . .i      ,   [‘11).   ‘.      it.      Dun    a bradsireet, Inc r. Greenmois Builders, Inc., 472 L’
           S   “‘     7 4            “vi.’                            u of Powell.        J I (quoting flail ‘wa Bank qf Boston it

           BelIun.,         t5       .     S                  Thuc I ‘4724 it    I he First niendment relleets a pro Ibund national

                                                                                      c




                                                                                                                                          7’.
                                                                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                                           S




            cominr               ci      tin the principle that debate on public issues should be uninhibited, mbust.

            wad             i    oj era.” %a, York Thna (‘a p. Sullivan, 176 t S 254, 2”O (1964p. That as
                                                                                                       .




            bec.aa ‘peech concanmg puolie aflhh’s is more than self-expression: it as the essence

            at   sci 1-          iernmcnt.’ Garricon a’. Louisiana, 379 I. S. 64. 74 75 1 9b4). Accordingly.
                                                                                              .




             spe:ct.. a public :.saez. occupies the highest rung of the hierarch> of First Amendment

            altn                xl as en itlcc to specia’ protection” Connkk v. Myers, lol U. S. 138, 145

           (1 9dia ‘ate nal quotation marks omitted).

     34.   Althnu... the bowaiacaes of what constitutes speech on matters of public concern are not

           weli     sC. a Cd.                 the t :.S. Supreme (‘taut has held that speech is of public concern when it

           can “he a:tirlt coisa.bt’d as relating to any matter olpolitical. social, or other concern to

           the cona unit>                       .“   iS at 146, or when it “is a subject of general interest and of value and

           conc             i   t’the Pt bIte. San Diego a’. Roe, 543 U. S. 77.83-84. A statement’s arguably

           “inappri praatc or .‘nroversial character... is irrelevant to the question whether it deals

           with rn.uer of pul’lic cuncern.” Rankin s McPherson, 483 1. S. 378. 3$7.
                    .                                                                                          .




    35.    lo d:•ca a’liaa: ss I etic: parch is ot public or private concern. this Court naust

           indepen. end> exanine the “‘coancnt. form, and context,” of the speech ‘as retealed by

           the vi 1 record                           -   Dun £ BraLctree4 Inc      a’.   Greenmoss Builders, lisa, 472 U. S. 749.

           761.     :.          in ader.n content fcc cia, and context, no factor is dispositiie. and it is

           nc’.e’ -a.. to ci alaa’t all .ispcct% ol We                       speech.

    36.    Snv          .            -   P.’.             ::lcr’. ‘fpuH   concern vi heat   it can   “be fairt> considered as relating

           to an a              tt       I.     Iliad    La   al s nil, or uher concern to the community,” C onnick,         supra at


           1-a                  I art                s        a “ctolleglinuteneasinteresvthati% asubjeetof general

           interiM              St 01 SJu                am U cnnier’m to tae public.” San Diego. .cuprcs. at 83 84. &‘r (‘ox

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                                                                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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           Broad. atting Corp. v. Cohn. 42(1 U. S. 469.492494 .l95i: Time. Inc.                                   .   11111.385 U

           S. 374 ‘‘7388 l*i. the arguably ‘Inappropriate or comr.n ersial character of .t

          statein      ‘:..      is   irrdei ant to the question ‘hether it deals nith a matter of public concern.”

          lanA.              .    tIcihenvn, 4i U. S. 3Th. 387 1
                                                               l87
                                                               .

    37    The “en.win” of I)etendantts ideo plainly relates to broad issues of interest to society at

          largi.. tamer than ma ters of “puiely private concern.” Dun & Bradsireel, nqra at 759.

    38    While h tone of thse messages way tall short of refIned social or political commentary,

          the issue inc dee highlights the American economy and unemployment, elected
                                          ‘




          officia, a..t etc. ted judicial coiruption. abortion- are matters of public import. The video

          broade isu l)efendant’s statements on those issues, in a manner designed to reach as

          broad    ,
                       j     unlic audience as possible.

    39.   Judge .wIIy l’arter s name appears in a pop-up caption at 2:47 in the video, some si,

          minute; i’eft’re the a!:ged trcat made by l)efendant at 8:50-9:10. Even if the video is

          flewet. a c. attaning a message related to Judge Kelly Parker specifically. that iould not

          changt the fact that the overall thrust and dominant theme of Defendant’s video spoke to

          broade              ablic issues than Judge Parker That is particularly true as other law

          enlorcc ment and elected officials are also listed by name in pop-up captions.

    40.   (hen I. a l)eIindth i’s speech was in a public forum on a matter of public concern, that

          speech    i         ‘ntitkd to special prote.tion” under the 1 irst Amendment. Such speech

          caiu.n;.            r%tri:teJ          t   wre!y ecaiise it   is   upsetting or arouses contempt. “If there 1% a

          beuroc        ,.       iie:ple      .“     :cr,nL’ tue First Amendment, it is that the gosemment may              sot


          prohrn.. ‘u..’ exrrev.n. n nf an idea irnply because wclet%                         tinjs   the idea it.’.elfot’)ensive or

          di%lr-                 :    -   I’a.       it   Johnson. 491 F. S. 397.44 i1989i. Indeed, “the point of all

                                                                             7




                                                                                                                                       I
                                                                                                                                               Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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            .
            1
            spa         ‘    aoCC! 101                .   k to snield just those choices of content that in someone’s c)es are

            fl   1’4t   it   •    .or ewi.            turtM.” Ilurley it Irish-American (say, Lesbian and Bisexual

            Grou,;aflioswn. Ia,, 5j4 L. S. 7 574 j1995)

     41.    Nor : a: d.c State                  ..‘       iae      that lktimjanfs video must go to the jury because the speech i

            a ara : ‘u                      flit:     .       uusnev. is a highl malleabe standard ith mm inherent

            suby                      :‘n   a1’’t.i           it   hich ouiJ allts a jur to impose liability on the basis of the

            juror-      1 $tc. or ‘.w n. or                          perhaps on the basis of their dislike of a particular e’cpression.”

            Jluws.’r, -.‘ I. s..            .             t    55 onternal quotation marks omittedi. In a case such as this, a iW

            is Tha      .aa: Lu             be:. i;ral nitl; respect                   to   the content of Ithcj speech.” posing a real

                                  •etx miii an instru nent                       fur   the suppression ol’... ‘vehement, caustic, and

           sometiiii:s unplcascaf tJ”exprth.sion. Bose Coip., 466 U. S.. at 510 (quoting New York

            Time, ;4
                   o U. S.. 4.270).

     42.   Such      i i i’&. is tat:                 ‘piable: “‘ii public debate Iwel must tolerate insulting, and e’ en

           outrat ‘otis. speech :n order Ii. pro’ ide adequate ‘breathing space’ to the freedoms

           protu.tc.             by the FLu AmendmenC’ Boos a Barry, 485 U. S. 312. 322 (1988) (some

           intenul quotation i arks omitted).

    43.    ‘%    hat 04 udant ‘a i. in the holc context of how and where he chose to say it. is

           entitk       it)       ‘pedal                  utection’ under the First Amendment. and that protection cannot be

           oerc m                 ‘    a pate         .t;al cur         inJin      hat the ‘idco was outrageous.

    44     Iii. p if                  o I.e.’ 1
                                              ec:h                      to    in he dispute. C4C0 shere it incites people to anger: in

           fat                        ocuti’          .       ,l i:illaminatory content of speech can potentially be seen as

           pi sit,           £    rmjnj’                      it thy     if   Chicago, 337 1 .S I ,1949 (Douglas. Ii.




                                                                                        8




                                                                                                                                           H
                                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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    45.    ‘1 he (.on%titution is not neutral. it was designed to take the gosernment off the backs ot

           the jeuple” Justice William 0. l)ouglas, The Court Years at 8 ‘198W.

    46     Defendant anceces that free speech does not permit lighting words”. Chaplins?.; v.

           New IIan,pshire, 115 U.S. ‘o’c jI942)upholding eons iction for breach of peach where

           Appellant strball> attacked a narshal by shouting “you’re a damned fascist” in a public

           street)

    47     But h.tre. as discuss d uØa. sse                      are   dealing not with Lighting words but rather with an

           ’ Uae Inca t:,at is. spcch Inst would put a reasonable person in apprenhension of
           1
           allege                      .




           harm

    48.    Under the k      taut) ci tie circu.nstanccc the form. content and contest Defendant’s

           speech does not objectivel) constitute fighting words, nor does it put Judge Parker or

           anyone eta: in a rea onable appr:hension ofharm by threatening to interflre with the

           pertorrnanlL oi Jut eI’arker’sjudiciai duties.



    IV.    Derendant’s speec in contest Is hyperbole, not literal

    49.    Defendant s speech                  3 perbolic in tone, not literal. I I>perbole is marked by the use of
                                               h

           exagccrzao       i   as a r;      ‘torical     device or flgure of speech. It may be used to eoke strong

           teehi s r to reat i strong .mpression. but is not meant to be taken Iitcrall>

     50.   In cur tr.ahtaon ci             c’ticisn.                                          e judicial notice that
                                                         o:’ public officials, this Court can tal
                                                                                              1

           hypcr. ot.      ‘ta emi          L aga        ist   public officials htne been routinel> made both generally

           and   ‘ un    •‘artieua’           I   ...   .o ik’L nec.eianl intend what their plain language states

           a         I          I) q           r (its Sarih Palm (R-AS) produced a political ad puttmpwrtam

                     I      eongi. ‘men ii the erosshairs” and showing a map of congressional seats

                                                                           9




                                                                                                                            I
                                                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                    %t




                      with .i nile cope sic’s superimposed and a list of the congressmen. Ste Jeff

                      :     nkts.    S.          ..n :‘.                       U i’uts Gun Sigluc (hi Democrats Shec Jargeting in

                      :a’ i. luif ‘It’                          •       ).tJdn.9.2011,Ut

                      I..                                              t.Ci’fl 20W
                                                                    to ijk’
                                                                       1                      (‘324 sahjnspac-lgts
                      &L    ji.j         t            1 htn a). ft. aLso (sabrielle Gifford.s was on Sarah Palm ‘.s

                     u       cliar3                             .1 h;ciovy qi violent words used against Giflords. S.F. SentineL

                     £       9.2(h                                      lc at lpip iw%sjinfrjyiçiscosentjpe[çm ‘?p 10235)0).

                  i.            t.s              .q’. Cal dell’ Ciilibrds (V-AZ) sas among those targeted b> PaIi&s

                                wet



                ii.            Gd            .       i.    w... later shut by a mentally ill individual named Jared lnughner.

                                tu                   ibequently pleaded guilty to various related felonies. U.S.                V.

                               Lo,,.nner, I l’R—IS7ItJC (D.Azi.

               iii.            A    r.                .:.l.ie           rersuh     would not believe Coy. Palm advocated the actual

                                dio ng of an congressman, including Rep. (jiffords.

               .s.             6    is.              aNn 1w. neter been charged with a crime.

          b.     Sc ititicil                     •    ‘I            e md isidely accepted polling indicates some 29 percent of

                 Aa wrican                           ;;.   ..   at n       armed revolution in order to protect liberties might be

                lie         %sat3   ii                              I   few   years    with another the percent unsure. In light 01 such

                lk.brbte                                   .r   n. ant         .   cpexh can be read either as a hyperbolic

                cx                                     si       a         belief o’ as a statement referencing a popular sentiment

                                                                    a dilect       tlueat b Defendant to Judge Parker. See Beliefs

                rib         iSa,                                    ,ver-L p Ousting Revolution Underlie Divide On (Jun



                                                                                      1(1




                                                                                                                                           0l
                                                                                                                                           01
                                                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                ‘I




                   (o.      t.,I,         Fm ‘clI,a i ickin%on P dl (Mar. U. 2013). availabk at

                   ;it:;            n’hl.c
                                    1                                 a   Ia. 2’fl guncontrol

    51.    here. gnet. ‘ac lens                              :ii: :.s of Lki&Ianfs hyperbolic publications and               broadcasts

           against pt.i I            t)flh.fl                         :s. naMe        prson would not ‘view the siden in context as an

          actual tlirca             0    ff5 Li      •            .   .cutc Judge Kelly Parka.

    52.    The pwticu.’ react                                i idie Kc’Ly P titer to the            video is irreIe ant to this analysis as

           such a rea.t ‘n is t                                       arid has nothing to do with the objection reasonableness of

          l)elendam. speeci

    53.   Itappears 1
                    .itthes                                            urs viith the lbrcgoing. as it has not designated Judge Parker

          asatniIssi.css. 11                                           I as nut aesignated Judge Parker as a witness either in his

          supple.nen            .   di..th                    •   .‘      tab..




    V.    Defendant’ nateis.                                          cvnditional, and do not constitute a true threat under the

          subjeeth i:jeelis                                            of i)inwidrlie analysis

    54.   irue tI.rcka          ø lint                   •            q •rnendincnt protection. Waits i’. United States, 394 U.S.

          70   (1 )b”


    55.   In eaIuati       s)   wlictl                                b is a true threat. this Court must be guided by the multi

          factor anal           ‘       set I                         ic bighth Circuit in £nited State, r. Dinwlddle, 761 3d 913

          (8tlLr.                   ,.




          a        ii               ctiii                                  i    n ot the threat and of other hgeners.

          b        %                                                           ‘I.   i:ional.

          C                                                               cnn.municated directly to its sictim.




                                                                                         II
                                                                                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                d           \\ other a e            ae             u. ik.                   i:o.a        :ad made similar statements to the ictirn in the

                         1)L          aflL


            e.                     iher a           .a        a    ti                                     aelie e that the maker of the threat had a

                        pa) erisj1 to              CL                                       e

      56    Defendant                  ide i c                                          ii                uc     threat under this analysis.

            a.          t     i   or the      casorac                   I        tC;            00          lulled Slates v. J.FLIL, 22 F.3d 821. 827-28

                        (8tl      (   ir. I               i       Cr        ttte       Ci)tre        fictual context, the recipient of the alleged threat

                        cot.J not rcaNun:t                              :o             id       a a it expresses “a determination                 or   intent to injure

                        prc ‘mh                in ic               it ic


            b.          I he peeJ              c                  .J Ri.ai.

            C           1 lie pcec1                     a.         c.        iii mi.            itted directly to Judge Parker.

           d.          Dea udant aad umade o prior ge                                                    cii   directed at Judge Parker.

           e.          Dea adam tad                 m             •a• cnmi                          e.    nage in violence, had no criminal record, and

                       \as ot Ic we d a                            .1   to              a       r    em SOfl by the Missouri troopers who executed his

                       arrc           arroimt. S’         t        i    p.         ci               urn, at 30:21-22.

     57.    1 he condo. na1it                      doleda a                        .   peo          It is   particularly important to the analysis. The

           court can re sonah                  sunmi. e                 daI Del nc                       .llts intention    was   not to intimidate      or   frighten

           Judge      Park.        but i itei to                   a .e a               ‘I      c. statement to his audience. I his intcfltion vas

           fiurI     etc it           m   .   ci i                          ..     at                       dc   the alleged threat   for   purposes of rhetorical

           h\ pernolo                 ci Ti                                             I                an    or   coerce Judge Parker he orid what is

           allowable              ittici id         c i


    58     In    Cotitesi     -   0tCii1i ti        0;,                                                   c.isonabi be construed h this           (‘nit ii

           purpusel.              o\\ 11           01                                   ii.     a         le or coerce Judge Parker, and a             reasonable
                                                                                                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                                                                  eatening Rather, Deldndant’s speech

           pit’ik)tCs      I                 GI     ieand                                                                         c over allegations ofjudicial corruption.

     59.   (In tm. alte        i                    cienJ.u              I       ouget                               i            this    Court    can adopt the Ninth      Circuit’s


           reasoniw                    I ret a      iC   taut                    Nt OL              r                                 ‘vond a reasonable doubt that Delend tnt

           inlendLd h                    ords r          Ct)flc                                    at                             mod     by Judge Parker as a threat. See I tilted

           States r. B z               I(Ls(lfgaIl,        6)        I               i I                        )t
                                                                                                                t                 Cir. 2011); United States         i’.   Cassel 408 F,3d

           62 (Orb        (‘,i         0th, Mere te                                                                 i             regard to the victim’s understanding is

           instil Ilcieni.



    VI.    The Iightn                   ircuut plirs                             h ihei                              r tilts as to                  hether threats are to be

           evahiated                   jectiveh or 3 ctis oh
                                                   sub
                                                   c

    60.    Del enJant a knossiedges taut the tCJc. a                                                                     .       ppellate circuits are split on whether the threat

           is to he es a I ated o jec ii s ci s a subje                                                                           v.     Compare Dinwiddie v. ith Bagsarian with

           United Stati            ,    v,     fl/i Ic, (7           1               d 1 8,                                           hh Cir. 2012) with Turner, as discussed

           bcios

    61.    DL tbndant e ace les                          tat   ti        I gih C                        .           i.            in Diii widdie has held the reaction of the

           recipient cat he on                      01’ a n          lt.tude ul tic irs in analyzing the speech. I lere. however,

           Del endai,t             speed            sas in                            ,c       I                                  ad     not    a communication directls transmitted

           to lade K               s P K

    62.    In k I J                     P, ik             i    I             t                                               ‘        testify   at trial, either, as his suhiectise

           re ct a    t                 1 eLli
                                        s                      a I                     i   .                .                     my as to an objectis e es aluation             legally or

           Ictu iIl                    tl,t.   ft   50 ie hi                     t             ‘                                 i ion   to the speech itsel [ united States v.

           JiI,II,, 2.                 d %I 8              ‘                 t.        ( a                      /            -+   .    I he admssion ot vcipient           reaction
                                                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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           testiinons          i           oe            iejud.             il    ha   in         ma hase a tendency to he oereighted by

           juries         ii   i           is    Ir i   ocea is         ‘   ii in      rs n         iry ill trust the recipients characterization

           Os    er tneir                  s n ins met Ii cditiori, m o hers of the jur are likely to he sss a ed hs the

           emotional               i       apact          Ic                           te              Jennifer   E. Rothrnan, Freedom of

           Spetch a,                       I’ru         I hn a                                     Public Policy 1 (2001 ).

     63.       1 be ( our                  si    als find l)etenda a s pr. cli is not a true threat under other circuits

           anaisses            t           ompam the Secoad ( ircua s recent analysis of true threats against federal

           appeliate r iges a                             0   cat           a I 5. r I a iier, No. 1 1-196-cr (June 21, 2013).

           1)etendan           ‘           sper .        i    dde a usda                           under the fbcts of Turner, and under its legal

           tests lot      tin               threr

     64.   1 he I)efeia ant in lurner 1
                                      ublished a bloc on the internet. his hiog posts included

           statements uch as.

           a.             t[ n the                      onstau in or die

           h              IF e blood )f the thi e jaci s a                                        Id replenish the tree of liherty.’

           c           11 s iudge                        dmdn       o         the in          scat by a gunman who murdered another federal

                                            in Chicago

           d           11 a udg s had not laced RI \l free men willing to walk up to them and kill

                      th               i   for      air del a       ice          ci    di     i   hence”

           e           1 de ulir                        a a I a                   i                 o sleazy and cunning as to desers e the

                                       a    LL      s     nsc           mid

                      I                    tic      IL          I
                                                                                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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     65     l umer aIM       postu.            photog tlis.                     or         u dresses, and room numbers                for   each judge. as

            vell   as a iii L[) to       It    C   courti       OUSL                           I        \   \sorkcd, and a photograph of “anti-truck

            bomb barn rs’ ou side that coarr han

     66.    Turner had        histo: of links                        to        ioe:a aoups                     such as the Ku Klux Klan and Arxan

            World (ss.:nd at ne                                  noun           \va :n                  EBI in1bant as to his ehsite isitors who

            shared their interinons                  to ecirinilt               ml nt acts 1 l’urner was later dropped by the FBI).

     67     Turner’s wihsiIL resealed a I ish F                                      0.    Ia ements              with threats against other olhcials,

           together           thre t to dis                          ehic.r oniie addresses and mention of”ha dig enough

            bullets to put then dwn ha

     68.   These tict are iisanguihahe trout                                              a asiant case in that:

           a,         Wei    rhaus nm er in ide rafdrenco                                      I        executing any particular judge bui for the

                     nio     strained reading 01 a                             six        uiiute apse between a caption with Judge Parkers

                     name and taternents recard in execution for treason).

           h.        \\ enoharis              nm   er icldreinced otler murders.

           c.              onhaus did non exhort oihers’io kill Judge Parker with any partieularit.

           d.        \k LrIhalls         iC\       er p sled maps                          I       usiniess     information about Judge Parker’s

                     coot house

           c.             m ilnaus eser threa[cried                             to a                   ip any particular courthouse, and indeed

                    The     Ifl\ at a aourthouc                                is flii’l\ ci                  il disobedience and not a threat to commit

                    n1or                  -.   1 olsom                ia IIt:’:,iOi I arrest Defendant on Septeiriher I F () I.

                    cii      ld      I    ar’ s u               it   lc.1s       I                          urthouses that \\einhau   might oceups

                    thr     I )rL a            e irihi      i    e        .‘                       I        designated with particularity, and conceded

                    tIer )ccupen.on itself ran be p re ‘I nil). bce, e g., Lx.3 (Depo. of’ Folsom)
                                                                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                          4-


     69.    Th. I unit             Ut)    c n’ icted q on ii gy ation for a “true threat”

     70     A .pht S’             ‘d Cu ‘ait pane.          ii flrir.d        .‘.   iintraetion and   cons i*..   Oil   On appedL bdsed on

           the tollo         i     iactc   r,.

           a.          Iii         trio ass ott: e t’t mkd liscussion of killing (the judges j.”

           b.          lui : s rc. irences ti                  past act of’            iolence. particularly the murder ofanother

                       ft.        lj idpem(hicago.

           C.          I u i er’s pust itatcmaits calhn’ for the death of a federal judge. and apprin ingl>

                       tic ta g    h t subsequnt tic              a’   r tide:.

           d.          Pt .11!     g     h t Luapl.s. sort ad lie ses and maps for the threatened judges’



     71.   I’he Fun.             t.ourt   Jso found that intimidation can constitute athie threat when the intent

           is   to placs..   ...   victim in tea. ci bodily                   &s. in   or death, citing the U.S. Supreme Court case

           proscribint            iois    I irning I irgirna . B. wit, 538 U.S. 343. 360 (2001).



    VII.   Defendan               sp ech is not incitement under the Brandenburg test

    72.    The I S.               remei. oun has long dis.n’ sished incitement from the mere “advocacy 01

           the use of srce or              II’   aw   ti   )lation. Bnandenburg a Ohio, 395 U.S. 444.449(1969).

           the lorm          i.    ii ‘p it the kit        i   i. 1 irs        r cndment protected.

    73.    To deters ic h ilatent. d.c proper t                           ‘        \ to look whether the statement “is directed to

           inca:.                 Id a :ng immrne,.t Lit Ic                    i    don and is hkeh to incite or produce such

           attn                    t     : ollns .lnbun.                            it S ‘0108-09(19’R)




                                                                               16
                                                                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                                       Its




     74     lndtemei                 di tng iishabh. from a hu threat. ?sew YorL                           .   reL Spitzer s’. Operation

            ifacne        at        1, i 1’.3d 184 196(24’.                    r.   2001): 1 n&dSt’,fl v. howell, 719 V.24 1258.

            126o5t:.t           w.       i9s3i

     75     1 ‘en ann. It.c ‘aalz                is   that   ii   lwlcnian s Ynutub., hr a. ‘4 which might %eem

           threaten v               h    pn cc ted under an incitement anal.sis if mac in public as part of a

           . i:,mun ca ion. ‘4
           1
           politii.a                                                   g.   ‘.1. ICP’. (‘linborne Ii irdware, 458 IL .S. 886.902

           1’rn2i ia:’ riling .irst Amendment ;                                tx’ion tt.                   :at public rallies threatening

           to   treak.        n:I        iainn   ncckjsj of tho’c ‘ho broke a bo>e                          4 segregated retail stores;.

     76.   1)etenda 1 sap tech 1crc in i public for m. the wet Id                                          seb, did not rise to the level

           of an untquivacaI. unconditional aria specific expression; of intention immediately to

           inflict injt r..” I nitedSioies v. kelner, 534 F.2d 102(:. i’! (2d Cit 1976). In that case.

           by contrar 1. iie kelner l)efendant’s conviction was alIiri... for the statement. bblwle are

           planning L         dssassu.ate             Mrs Araihi. c’cr>thing is plmn                        in detail.’ liL at 1025.



     VIII. Defendant          £     speech does not constitute fighting north, a ad Is factually

           distinguishable from Wooden

     77.   The %lissc4 n Sup eme Court recenti> affirmed cot                                 c i   a       or harassment under RSMo
           56JO.1j            :1         .au ,c5.09O. I’      -   i.   sihuc the Dckn..u.t .“rr aJitdual emails and letter’
                                                                                                       .




           to a St. I               I.   ii> aidcrwomar cal!ii.a na a “bitcl ‘arJ a                        ezeber and threatening to

           “go   t ‘itr   ‘
                              i.’   C t. )fl.” ‘.‘ii      he wi’h a            awed oil sh it
                                                                                           1 un            nd ‘pop’ her ‘eherr> like

           ass.,    a          .r’.sicu.tJohnl Kimna. cater.;                                tith a            SC92846Jan 8. 2013)
     7$    .Ith.’u&,. K ha•:a.siicnt erim. in U..nd.’n                              is disiiz:             ‘alicial liarassnient wider

           RS’sk’              -            t ne      l’t;iIhlNt       UI WI. ‘%4s tan t:. ..tt”           .utIl the same. RSMo.

                                                                               7
                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                  S
          565 090.lclfl and 565.090 1(5) require a showing that the tl rats put the victim in
          brca,onak e apprelenion        i’   lTer.’.ri. p’ i.*l c )ntact orl in         Lhcjudiciaa tampenng

                  uirs the speaker s purpose to he to iianiss. intimidate or influence a judicial
          statute rec
                  4

          officer in th: performance ol such oflucers official dutics.’ Although the showing is

          different. baLi are essentially an objectite reasonable person standard as to the imminent

          harm or It.— i’anent effect ii’ the $pcc:h

    79    In   Itooden, t e Mu. Supre.t ‘(‘ourt r”edeJ mc l)efendan(: tppeal on First Amendment

          grounds bet abse. alter a detailed factual inquiry         into   hiq speen. it found the speech

          contained words that. taken together. thmugh their wry utterance inflict injury or tend to

          incite an tn nediate breach of the peace° and are not prutecttd by the First Amendment

          or the Missisuri Constitutior.. Id. at o. quol;ng Chaplinsky, spra. 3(5 tI.S. at 571-fl.

    80.   1)cfeniam. speech here is lactuall ekiinguishahle from tbt of Wooden in at least flue

          respects:

          a.       W oct en sent emails directly to the lderwoman he threatened. Defendant, by

                  coitrast made his speech only            ii   public forum (the world wide web). in the

                  conte’t of s regular broadcast and publication of 13u1 etinman, which criticizes

                  alle c. olfl:iai corruption.

          b.       % t’ den had no reputation as ft harmless hut colorful political commentator

                  D.na.uant Is a citia’en ,ournali%t and blogger. knouin ; Crawford CounL (where

                   Ii.    l’ariai :ts) In ha’. anti   !.   aament uiew’.. C. sect matters as to the

                  %t     irnt.




                                                           IS
                                                                                                                                        Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                      f
                                                                                                        ‘Is




          c.                         den mate relerenca. to d.tting otT a sa’ved-oti shotgun. and that he as

                               •     •   to make a me                e’.erytlung ith hic ‘.awed-. .:17 Defendant made no

                          !l;: r          :t    h.s renonai uie of Iaa.11               t,rce.


          d.                  ot c.       ‘n   reterenced a.mself as domestic terrorist and referenced the shootings of

                          Prc dent Kennedy, C ongresstsoman Chibrielle (Jiffords. and U.S. District Court

                         Ju i        -    John Roll. De&ndant reter:nccs no other shot •t;ngb or murders.

          e.                   x deWs tone tas maniacal ted menacing lk&ndanCs tone is hyperbolic, but

                         no n.t.nacinp

          f.             ‘A o en had a histon                     of serious      criminality. Defendant has none.



    IX.   The C         outs             in take judicial notice that Google has not rcm.’ ed the ipeech from Its

          aebsite, ci: pite I outube’s ‘C’ommumty Guidelines” and                                         Ib
                                                                                                               rerms of   Servicen”

    81.   Defendax.t\ speech ‘.sas broadcast from the Youtube website. osned by Cooglc

          1ncorporwt.

    82.   Defi,ndai: peech is stil! pocted publL                                       on   the Voutube ebsite. at

          http: wv. gtuDe.omucer nuiletin
                   .             aan. .*e bt
                                 11                                                                   Al1idait of hugh A. ltastisood.

    83.   Youtut’c;. iatains I ems at Sen ice bs 2-13. cavailabk ca          .




               jts            w., oji qh:.:om’static?ternplate terms, and ‘(‘omniunity CiuidelineC. Er 2-C.

          avwt..ni            .a tfly. us.yat.tubc.con; I et’mrnunilLikuidelines. for Youtube users.

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     Respectfully uniicd,
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        200 S. Main DeS w                brother is in there ott some 13S1 What is up with that? To top it iril’ finding a lawyer to sue the
            636—586- 539b                Sltcrifi”s department is impossible without a huge sum of cash upfIont fri Jeffco carpet                .




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